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                            EXHIBIT A
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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS

       THE STATE OF TEXAS, ET AL.                §
                                                 §
                 PLAINTIFFS,                     §
                                                 §     CIVIL ACTION NO. 4:20-CV-00957-
                       VS.                       §                 SDJ
                                                 §
                 GOOGLE LLC,                     §
                                                 §
                 DEFENDANT.                      §          JURY TRIAL DEMANDED
                                                 §
                                                 §
                                                 §




   THE PLAINTIFF STATES’ SEVENTH AMENDED RESPONSES & OBJECTIONS TO
              GOOGLE LLC’s FIRST SET OF INTERROGATORIES

          The Offices of the Attorney General for the states of Texas, Alaska, Arkansas, Florida,

  Idaho, Indiana, Kentucky, Louisiana, Mississippi, Missouri, Montana, Nevada, North Dakota,

  Puerto Rico, South Carolina, South Dakota, and Utah (collectively, the “Plaintiff States”) hereby

  make the following amended response to Google LLC’s First Set of Interrogatories (the

  “Interrogatories”) under Federal Rule of Civil Procedure 33 (“Federal Rules”) and any applicable

  local rules.




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                                     PRELIMINARY STATEMENT

            These responses and objections are based on information presently available to the Office

  of the Attorney General in each of the Plaintiff States and are made without prejudice to, and are

  not a waiver of, the Plaintiff States’ rights to rely on other facts or documents at trial.

            The Plaintiff States reserve the right to supplement, clarify, revise, or correct any or all of

  their responses and objections, and to assert additional objections or privileges, in subsequent

  supplemental response(s).

            No response or objections should be construed as an admission or acknowledgment that an

  interrogatory calls for information that is relevant to the subject matter of this litigation or

  proportional to the needs of the case, or that any responsive documents or information would be

  authentic or admissible at any trial.

            Nothing in these amended responses should be construed as an amendment to Plaintiff

  States’ claims in the Fourth Amended Complaint or a withdrawal or abridgment of any remedies

  sought by Plaintiff States as stated in the Fourth Amended Complaint, unless expressly stated

  herein.

                                        GENERAL OBJECTIONS

            The Attorneys General for the Plaintiff States object to the Interrogatories to the extent that

  they attempt to impose any obligation greater than those imposed or authorized by the Federal

  Rules of Civil Procedure, the Local Civil Rules of the District Court for the Eastern District of

  Texas, or any applicable Order of the Court.

            The Plaintiff States object to the Interrogatories to the extent that they seek information

  that is not relevant to this litigation or proportional to the needs of the case.




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           The Plaintiff States object to the Interrogatories to the extent that they call for information

  protected by the attorney-client privilege, the deliberative process privilege, the common interest

  privilege, and/or the attorney work product doctrine.

           The Plaintiff States object to the Interrogatories as overbroad and unduly burdensome to

  the extent that they seek testimony and information from the Plaintiff States that are not within

  their possession, custody, or control. The Attorneys General of the Plaintiff States are the entities

  that brought this action pursuant to their statutory authority to enforce state and federal antirust

  and consumer protection laws. This action was not brought by any other public officials, state

  agencies, government entities, or divisions thereof, and such persons are not parties to this

  litigation.

           The Plaintiff States object to Google’s legal conclusion that the Interrogatories are “in

  Accordance with PTO No.5,” and object to the Interrogatories as contrary to PTO No. 5. For

  example, the Interrogatories contain thirty-one (31) enumerated interrogatories; whereas, PTO No.

  5 only allows for twenty-five (25). Additionally, the Plaintiff States object to the use of

  inappropriately compounded interrogatories that contain multiple distinct and separate subparts.

           The Plaintiff States of Arkansas, Florida, Kentucky, Missouri, Montana, Nevada, Puerto

  Rico, and Utah object to these Interrogatories as not properly served on their respective state. In

  responding to these Interrogatories, the Plaintiff States of Arkansas, Florida, Kentucky, Missouri,

  Montana, Nevada, Puerto Rico, and Utah do not concede that they were properly served and

  reserve all rights due to a party that is not properly served under the Federal Rules or the Local

  Rules.




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                                OBJECTIONS TO INSTRUCTIONS

          Plaintiff States object to the instructions included with Google’s Requests for Production

  to the extent they direct Plaintiff States to interpret words or phrases in a way that is different from

  their ordinary meaning. Plaintiff States further object to the instructions as vague and ambiguous

  to the extent they direct Plaintiff States to construe words or phrases differently than they are

  written or contrary to the ordinary rules of grammar.



                                  OBJECTIONS TO DEFINITIONS

          The Plaintiff States object to the definitions included with Google’s Interrogatories to the

  extent that they differ from the meaning of words as they are commonly used, to the extent they

  differ from the meaning they have as used in industry practice, and to the extent that they differ

  from the way that they were defined by Plaintiff States in any Civil Investigative Demand related

  to this litigation or discovery request issued in this litigation. The Attorneys General of the

  Plaintiffs States will respond to the Interrogatories giving the terms used their ordinary meaning

  as commonly understood.

          The Plaintiff States object to Google’s definition of the term “You” or “Your” as

  misleading, factually incorrect, vague, overbroad, and unduly burdensome. The Plaintiff States

  further object to the definition to the extent it purports to enlarge, expand, or in any way alter the

  plain meaning and scope of the Federal Rules of Civil Procedure or seeks to compel Plaintiff States

  to provide information that is not within the possession, custody, or control of the Offices of the

  Attorney General of the respective Plaintiff States. Plaintiff States will construe this term to refer

  to the units, departments, or subdivisions within the Offices of the Attorney General of each

  respective Plaintiff State.

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          Plaintiff States specifically object to Google’s definition of the term “Relevant Period” as

  overbroad, unduly burdensome, and disproportional to the needs of the case to the extent it seeks

  information that is not relevant to any party’s claim or defense in this litigation. Plaintiff States

  will meet and confer with Google to identify a reasonable period for each Request for Production

  that is relevant to this litigation and proportional to the needs of the case.




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                     RESPONSES & OBJECTIONS TO INTERROGATORIES

  INTERROGATORY NO. 1: Identify each and every one of Your state’s agencies, entities,

  divisions, or departments that has used Display Advertising or Ad Tech Products during the

  Relevant Period.

         Response: The Plaintiff States object to this interrogatory as unduly burdensome and
         disproportional to the needs of the case as it places an undue burden on the responding
         party that outweighs its expected benefits, and the requesting party’s ability to obtain the
         information is similar or superior to that of the responding party or otherwise not relevant
         to the facts or claims of this litigation. The Plaintiff States further object to this
         interrogatory to the extent it seeks information that is not within their possession, custody,
         or control and reiterate their objection to the definition of “You” stated above. The Plaintiff
         States are willing to meet and confer with Google to identify responsive information, if
         any, that is in their possession, custody, or control, that is not more easily obtained from
         third parties or that can be provided without causing undue burden. Subject to and without
         waiving the foregoing objections, the Plaintiff States respond:

            •   The State of Arkansas identifies the Arkansas Office of Attorney General Public
                Protection Division as the only division of the Arkansas Office of Attorney General
                that has used display advertising or ad tech products during the Relevant Period.

            •   The Plaintiff State of North Dakota specifically identifies the North Dakota Lottery
                (“ND Lottery”) as the only division of the North Dakota Office of Attorney General
                that has used display advertising or ad tech products during the Relevant Period.

            •   The Plaintiff State of Indiana identifies the following links containing a searchable
                directory identifying staff of Indiana State Agencies, Departments, Boards, and
                Commissions:

                       (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                    (https://www.in.gov/apps/iot/find-a-person/)

                Information regarding their use of display advertising or display ad products is not
                within the possession, custody or control of the Indiana Office of the Attorney
                General.

                The Plaintiff State of Indiana specifically identifies the Unclaimed Property
                Division as the only division of the Indiana Office of Attorney General that has
                used display advertising or ad tech products during the Relevant Period.

            •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
                an organizational chart of the executive branch of government in the
                Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
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              General does not have any independent knowledge of whether any other state
              agency, entity, division, or department of the Commonwealth, including any
              contained on the organizational chart available at the link provided, has used
              Display Advertising or Ad Tech Products, but the Office remains willing to meet
              and confer with Google to facilitate discovery with state agencies. The
              Commonwealth further states that the Kentucky Office of the Attorney General has
              used Ad Tech Products and Display Advertising.

          •   The Plaintiff State of Louisiana, by and through its Attorney General’s Office
              identifies the following link containing a directory of all Louisiana State Agencies:

              https://www.louisiana.gov/government/agency-
              directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
              ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
              iana%20Legislature%20Louisiana%20State%20University%20System

          •   The Louisiana Gaming Division and Public Protection Division have purchased
              display advertising on limited occasions in the past for specific campaigns directed
              at messaging regarding fair housing and gambling. The purchase of said limited
              display advertising was made with non-state funds and through an outside
              advertising agency that would have selected the strategy, products and providers.


          •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
              Exhibit “A” a list of contact information for their respective state agencies, which
              are in a superior position to provide Google with the information it seeks. The
              Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
              whether these entities use display advertising or ad tech products, and such
              information is not within thier possession, custody, or control.

          •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
              identifies the following link containing a full list of Missouri State Agencies,
              Departments, Boards, and Commissions:

                     (https://www.mo.gov/search-results?mode=state_agencies).

              Information regarding their use of display advertising or display ad products is not
              within the possession, custody or control of the Missouri Office of the Attorney
              General. The foregoing link includes contact information for each Missouri
              Agency, Department, Board, and Commission. Each such Agency, Department,
              Board, and Commission would be in a superior position to provide Google with the
              information it seeks.

          •   The Plaintiff State of Utah, Department of Commerce, Division of Consumer
              Protection used Display Advertising or Ad Tech products during the relevant
              period.
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          •   The Plaintiff State of Utah Attorney General’s Office (“Utah AGO”) does not have
              possession, custody, or control of responsive information for any state agency other
              than the Utah AGO. The Utah AGO identifies the following link containing a full
              list of Utah State Agencies, Departments, Boards, and Commissions:

              https://www.utah.gov/government/agencylist.html

          •   The Plaintiff State of Nevada, by and through the Office of the Nevada Attorney
              General (“Nevada AGO”) has confirmed that the Nevada AGO has not purchased
              display advertising or used ad tech products during the Relevant Period. The
              Nevada AGO does not have possession, custody, or control of documents or
              information for other state agencies. However, public officers in Nevada have a
              duty to reasonably provide information in their possession that relates to an active
              antitrust investigation or enforcement action brought by the Nevada AGO.
              Considering that duty, relevant state agencies are willing to voluntarily produce
              relevant documents or information without the formal issuance by Google of a
              FRCP 45 subpoena. The Nevada AGO has determined that the following state
              agencies have not received FRCP 45 subpoenas issued by Google but may have
              responsive information similar to that requested by Google in previous FRCP 45
              subpoenas (“Additional Nevada Agencies”). These agencies are willing to
              voluntarily gather and produce that information, and the Nevada AGO is willing to
              facilitate the voluntary production from these Additional Nevada Agencies within
              a reasonable period of time:

                 o   The Division of Welfare and Supportive Services
                 o   The Division of Public and Behavioral Health
                 o   The Division of Aging and Disability Services
                 o   The Health and Human Services Director’s Office
                 o   The Department of Tourism and Cultural Affairs
                 o   The Silver State Health Insurance Exchange
                 o   Nevada State Treasurer

          •   The Plaintiff State of Alaska, by and through the Alaska Attorney General’s Office
              (“AGO”), would direct Defendant to multiple, previous correspondence addressing
              the substance of this interrogatory. As stated in that correspondence, the AGO does
              not concede that documents residing with other State of Alaska agencies are in its
              possession, custody, or control. Nevertheless, the AGO has worked cooperatively
              with every State of Alaska executive branch agency to identify whether any agency,
              or their subdivisions, have used Display Advertising or Ad Tech Products during
              the Relevant Period. The agencies that have, and, where indicated those that we are
              continuing to investigate, include:
                  o Department of Education (Alaska Commission on Postsecondary
                      Education)
                  o Department of Labor (Division of Employment and Training Services)
                  o Office of the Governor (likely Display—confirming)
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                    o Office of the Lieutenant Governor, Division of Elections
                    o Department of Natural Resources (Division of Agriculture, Division of
                      Land and Water)
                    o Department of Commerce, Community, and Economic Development
                      (Division of Economic Development (ceased to exist FY22)—still
                      investigating)
                    o Department of Revenue (Permanent Fund Dividend Division)
                    o Department of Fish & Game (Division of Wildlife Conservation)
                    o Department of Public Safety (Division of Alaska State Troopers)
                    o Department of Health (still investigating)
                    o Department of Environmental Conservation
                    o Department of Military and Veterans Affairs
                    o Department of Law

             •   Plaintiff the Commonwealth of Puerto Rico identifies the Oficina de Compensación
                 y Servicios a las Víctimas y Testigos de Delitos and the Sistema de Información de
                 Justicia Criminal of the Puerto Rico Department of Justice (“PRDOJ”) as the only
                 subdivisions of the PRDOJ that used Display Advertising during the relevant
                 period.

             •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                 Florida, Mississippi, Missouri, Montana, South Carolina, and South Dakota have
                 not purchased display advertising or used ad tech products during the Relevant
                 Period.


  INTERROGATORY NO. 2: Identify all remedies You seek in this Action, in what capacity

  (such as parens patriae or sovereign capacity) You seek each remedy, and the statutory or other

  legal basis for each such remedy.

         Response: The Plaintiff States object to this interrogatory to the extent is seeks to force a
         legal conclusion. Further, the Plaintiff States object to this interrogatory as premature given
         the status of the case and the fact that discovery is ongoing, including review of documents
         or data not timely collected and only recently or not yet produced by Google, and to the
         extent it seeks to compel Plaintiffs to marshal all of their evidence in advance of trial. The
         Plaintiff States also object on the basis that this request calls for the premature disclosure
         of expert opinions. Expert disclosures will be made within the time prescribed by the
         Court’s Scheduling Order. The Plaintiff States reserve their rights to supplement responses
         to this interrogatory at a later date once they have designated experts and obtained sufficient
         discovery to make a complete response. Subject to and without waiving the foregoing
         objections, the Plaintiff States respond:

             •   The Plaintiff States reserve the right to pursue any allowable remedy under federal
                 or state antitrust law that would restore competition to any market in which
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                 Google’s conduct is alleged to have anticompetitive effects. The Plaintiff States
                 currently believe that a combination of structural and behavioral remedies are
                 necessary to restore competitive conditions to the affected markets.

             •   The Plaintiff States reserve the right to pursue any allowable remedy under their
                 respective state laws for Google’s deceptive conduct in order to compensate the
                 injured citizens or persons of their state and to deter future deceptive conduct on
                 the part of Google.

             •   The Plaintiff States each seek injunctive relief in their parens patriae capacity for
                 harm to their general welfare and economies.

             •   The Plaintiff States each seek civil penalties in their sovereign and parens patriae
                 capacity for harm to their general welfare and economies.

             •   Subject to the foregoing responses and objections and reservations of rights,
                 Plaintiff States have the present intent to pursuing those remedies identified in
                 Exhibit “B”.

             •   For the avoidance of doubt, the Plaintiff States emphasize that the foregoing
                 responses pertain only to the remedies sought under their state law authorities and
                 do not purport to address or modify the injuries that the Plaintiff States allege in
                 the Fourth Amended Complaint.


  INTERROGATORY NO. 3: Identify all persons answering and supplying information in

  response to these Interrogatories and all documents You relied on to answer these Interrogatories.

         Response: The Plaintiff States object to this interrogatory to the extent it seeks attorney-
         client or work product privileged information, or to the extent it seeks information not
         otherwise discoverable under court order. The Plaintiff States will supplement their
         responses to this interrogatory at a later date if they have responsive information. Subject
         to and without waiving the foregoing objections, the Plaintiff States respond:

             •   Plaintiff States that responded to Interrogatory No. 28 also identify those
                 individuals as being potentially responsive to this Interrogatory No. 3.

             •   Staff attorneys for the respective Attorneys General of the Plaintiff States or outside
                 counsel representing certain of the Attorneys General of the Plaintiff States were
                 involved in preparing these responses.

             •   The Plaintiff State of Florida specifically responds that it consulted with the
                 following employees of the Florida Attorney General’s Office in formulating these
                 responses: Douglas Smith and Cindy Rutledge (Information Technology); Sabrina

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               Donovan and Darlene Faris (Administrative Services); Erica Lee (Public Records);
               and the Citizen Services department.

           •   The Plaintiff State of Idaho specifically responds that the Idaho Office of the
               Attorney General (IDOAG) consulted with Robyn Lockett, Division Chief of the
               Admin & Budget Division of the IDOAG, with respect to the response to
               Interrogatory No. 1.

           •   The Plaintiff State of North Dakota specifically responds that it consulted with
               Ryan Koppy, Sales and Marketing Manager at the ND Lottery, in formulating the
               responses to the interrogatories.

           •   Plaintiff State of Indiana responds that the same individuals identified in response
               to Interrogatory No. 28 supplied information used in responding to Google’s
               Interrogatories and that it relied on documents it produced as INOAG-
               GOOG_000000041 to INOAG-GOOG_00004981.
           •   The Plaintiff State of Alaska specifically responds that it consulted with numerous
               employees from each of the thirteen Executive Branch agencies who answered
               and/or supplied information in response to these interrogatories. In order to avoid
               undue burden on State employees, Alaska is willing to meet and confer with
               Defendant to identify who, among the many employees consulted, Defendant
               believes disclosure would be of benefit.

           •   The Plaintiff Commonwealth of Kentucky responds that it consulted with the
               following individuals in formulating the responses to the interrogatories:
                   o Krista Buckel, formerly Communications Director (former employee)
                   o Stacy Woodrum, Executive Director, Office of Administrative Services
                   o Michelle Lacy, Budget Specialist, Office of Administrative Services
                   o Shellie May, Special Assistant, Office of Consumer Protection (formerly
                      Communications Director)
                   o Atley Smedley, Deputy Communications Director
                   o Heather Wagers, Executive Director, Office of Trafficking and Abuse
                      Prevention and Prosecution
                   o Leah Halfacre, Account Director, Red7e, Phone: 502-585-3403 (Ext. 258).
                      Email: leahh@red7e.com
                   o Jim Hoyland, COO, Red7e, Phone: (502) 585-3403 (Ext. 234). Email:
                      jimh@red7e.com

           •   State of Nevada specifically responds by identifying below the following
               individuals, other than counsel, who supplied information to inform its response
               to Interrogatory No. 1:

                  o Following discussions with IT staff that actively maintain the Nevada AG
                    website, IT Manager Rick Lacanilao confirmed that the Nevada AG has


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                      never purchased display advertising or paid for other advertising products
                      during the Relevant Period.

                  o The State of Nevada identified the Nevada State Treasurer as an
                    “Additional Nevada Agency” that may have responsive information after
                    reviewing information provided by its Chief of Staff, Kirsten Van Ry.

                  o The State of Nevada identified the Silver State Health Insurance
                    Exchange as an “Additional Nevada Agency” that may have responsive
                    information after reviewing information provided by Janel Davis, its Chief
                    Operating Officer, and Julian Tallent at the ABBI agency.

                  o The State of Nevada identified the Division of Welfare and Supportive
                    Services is an “Additional Nevada Agency” that may have responsive
                    information after reviewing information provided by Karissa Looper,
                    Agency Manager for the Division’s Child Care and Development
                    Program.

                  o The State of Nevada identified the Nevada Department of Tourism and
                    Cultural Affairs as an “Additional Nevada Agency” that may have
                    responsive information after reviewing information provided by its
                    Director, Brenda Scolari, and Chief Deputy Director, Mary Ellen
                    Kawchak.

                  o The State of Nevada identified the Health and Human Services Director’s
                    Office as an “Additional Nevada Agency” that may have responsive
                    information after reviewing information provided by Shannon Litz,
                    Director of Programs.

                  o The State of Nevada identified the Division of Public and Behavioral
                    Health as an “Additional Nevada Agency” that may have responsive
                    information after information provided by Vickie Ives, Health Bureau
                    Chief, and Andrea Rivers, Agency Manager.

                  o The State of Nevada identified the Division of Aging and Disability
                    Services as an “Additional Nevada Agency” that may have responsive
                    information after reviewing information provided by Tammy Sever, a
                    Social Work Supervisor, and Jennifer Frischmann, Agency Manager.

           •   The Plaintiff State of Utah specifically responds that it consulted with its internal
               staff in formulating these responses. Additionally, the Department of Commerce,
               Division of Consumer Protection identifies Melanie Hall, Communications
               Director for the Utah Department of Commerce.




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  INTERROGATORY NO. 4: Identify all injured persons or categories of persons on whose

  behalf You as parens patriae seek monetary relief (including, where applicable, restitution,

  disgorgement, civil penalties, civil fines, or damages) in this Action, and for each person or

  category of persons state the following:


         a. whether the person is a natural person or legal entity;

         b. how the person has used Display Advertising or Ad Tech Products, including whether
         the person is a Publisher, Advertiser, or consumer;

         c. the person’s state of residence, organization, or incorporation;

         d. if applicable, the person’s principal place of business;

         e. the nature of the person’s injury; and

         f. the specific monetary relief You seek as a result of the person’s injury.


         Response: The Plaintiff States object to this interrogatory as unduly burdensome and
         disproportional to the needs of the case as it places an undue burden on the responding
         party that outweighs its likely benefits, and the requesting party’s ability to obtain the
         information is similar to that of the responding party. Plaintiff States also object to this
         Request to the extent that it implies that the identification of specific persons is a necessary
         element of a parens patriae claim. Further, the Plaintiff States object to this interrogatory
         as premature given the status of the case and the fact that discovery is ongoing, including
         review of documents not timely collected and only recently or not yet produced by Google,
         and to the extent it seeks to compel Plaintiff States to marshal all of their evidence in
         advance of trial. The Plaintiff States also object on the basis that this request calls for the
         premature disclosure of expert opinions. Expert disclosures will be made within the time
         prescribed by the Court’s Scheduling Order. Finally, the Plaintiff States object to this
         interrogatory as containing discrete sub-parts such that it should constitute multiple
         interrogatories in considering the interrogatory limit imposed by the Court in this case.
         ECF No. 194 at 6 (“This limit on the number of interrogatories includes discrete sub-parts
         ….”). Subject to and without waiving the foregoing objections, the Plaintiff States respond:


  Plaintiff States seeking civil penalties as parens patriae for antitrust injury to the general welfare
  and economies of their respective state:



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             •   The Plaintiff States of Alaska, Arkansas, Florida, Idaho, Kentucky, Louisiana,
                 Mississippi, Montana, Nevada, North Dakota, Puerto Rico, South Carolina, South
                 Dakota, Texas, and Utah seek to recover civil penalties as parens patriae for harm
                 to the general welfare and economies of each state caused by injuries to publishers
                 and advertisers that have been deprived of improved quality, increased
                 transparency, further innovation and lower prices due to Googles anticompetitive
                 conduct. These Plaintiff States also seek to recover civil penalties parens patriae
                 for harm to the general welfare and economies of each state caused by injuries to
                 persons within each Plaintiff State that have suffered from increased prices and
                 lowered quality on the web caused by Google’s anticompetitive conduct in the
                 markets alleged.

  Plaintiff States seeking civil penalties as parens patriae for injury to the general welfare and
  economies of their respective states caused by Google’s unfair or deceptive practices:

             •   All Plaintiff States seek to recover civil penalties as parens patriae for harm to the
                 general welfare and economies of each state caused by injuries to publishers and
                 advertisers in each state that have been deceived by Google while using its Ad Tech
                 Products. Publishers receiving decreased revenue and low-quality ads and
                 advertisers being forced to overpay for impressions due to Google’s deception
                 harmed the general welfare and economies of the Plaintiff States. The Plaintiff
                 States also seek to recover civil penalties parens patriae for harm to the general
                 welfare and economies of each state caused by increased prices and lowered quality
                 on the web caused due to Google’s deceptive conduct in each state.


     INTERROGATORY NO. 5: Identify and quantify all harm to the general welfare and the

     economy of Your state for which You seek monetary relief (including, where applicable,

     restitution, disgorgement, civil penalties, civil fines, or damages) in this Action, and specify

     the particular relief You seek for each such harm.

         Response: The Plaintiff States object to this interrogatory as unduly burdensome and
         disproportional to the needs of the case as it places an undue burden on the responding
         party that outweighs its likely benefits. Further, the Plaintiff States object to this
         interrogatory as premature given the status of the case and the fact that discovery is
         ongoing, including review of documents not timely collected and only recently or not yet
         produced by Google, and to the extent it seeks to compel Plaintiff States to marshal all of
         their evidence in advance of trial or to the extent that it seeks to compel a legal conclusion.
         The Plaintiff States also object on the basis that this request calls for the premature
         disclosure of expert opinions. Expert disclosures will be made within the time prescribed
         by the Court’s Scheduling Order. Subject to and without waiving the foregoing objections,
         the Plaintiff States respond as follows:

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           •   Google’s unlawful conduct has inflicted harm to businesses and individuals in the
               Plaintiff States, to the respective economies of the Plaintiff States, and to the
               general welfare of the Plaintiff States. Those harms result from the significant
               number of advertising transactions conducted daily by Google. Google earns
               around $712 million dollars per day from a business model grounded in digital
               display advertising and supported by its unlawful conduct.

           •   Google’s conduct caused harm to web publishers and digital advertisers who
               conduct business in each of the Plaintiff States. These companies are part of an
               important industry in each state’s economy.

           •   Web publishing and monetization are essential to each Plaintiff States’ citizens in
               terms of providing rich content on the internet without erecting paywalls or
               otherwise charging users to subscribe to content.

           •   Digital advertising is important to a multitude of large and small businesses that
               operate in each of the Plaintiff States. Google’s conduct has caused, and continues
               to cause, harm to small and large businesses in the Plaintiff States, with follow-on
               effects to consumers (i.e., Plaintiff States’ citizens). The impacts to the Plaintiff
               States by the following conduct of Google are broad and manifest.

        Harm Arising from Google’s Unlawful Tying:

           •   Beginning in 2009 and continuing through the present day, the general welfare of
               the Plaintiff States and the economies of the Plaintiff States were harmed though
               Google’s illegal coercion of web publishers into licensing its ad server in each of
               the Plaintiff States.

           •   In order to access a unique pool of small advertiser inventory that was unavailable
               on other exchanges, due to Google making that inventory exclusive to Google’s ad
               exchange and refusing to interoperate with web publishers’ in-house ad servers or
               third-party ad servers, web publishers were forced to use Google’s ad server.

           •   Web publishers located in the Plaintiff States were thus deprived of the opportunity
               to connect to Google’s captive pool of small advertiser demand using an ad server
               that was not owned by Google.

           •   Google’s ad server operated in self-serving and deceptive ways to advantage its
               own ad exchange over rivals and insulate Google’s ad exchange from competing
               on take rates with other ad exchanges.

           •   Advertisers located in the Plaintiff States were also harmed because they were left
               without viable alternatives to Google’s ad tech products. For example, Google’s
               prohibition against small advertisers submitting live bids on rival ad exchanges
               deprived rival exchanges of sources of demand, stifling competition. Those
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               advertisers, and the Plaintiff States’ economies, were denied innovative, alternative
               exchange platforms, while those businesses had to pay Google supracompetitive
               prices.

           •   If there were more alternatives in the ad serving market that could access small
               advertising demand, Google would not be able to exclude rival ad servers and ad
               exchanges from competing with Google on equal footing.

           •   With more competition in the ad serving and ad exchange markets, Google would
               be forced to lower its take rate and take less from each advertising transaction. Web
               publishers in each of the Plaintiff States would use that additional revenue to create
               more content, improve the quality of that content, reduce or eliminate paywalls to
               that content, and internet users would gain increased access to valuable ad
               supported content.

           •   If small advertiser demand were available on more ad exchanges, advertisers
               located in each of the Plaintiff States would have access to web publisher inventory
               that is not available on Google’s ad exchange. This would allow advertisers to get
               access to the best inventory possible at the lowest cost available. Advertisers, in
               turn, could provide better quality advertising content and offer the general public
               of the Plaintiff States lower-priced goods and services due to reduced advertising
               costs.

        Dynamic Allocation:

           •   Beginning in 2010 and continuing through 2019, Dynamic Allocation harmed the
               general welfare of the Plaintiff States and the economies of the Plaintiff States.

           •   Absent Dynamic Allocation, a web publisher’s impression would have transacted
               on rival ad exchanges more often and on terms more favorable to web publishers.

           •   Dynamic Allocation also ensured that more web publisher impressions would be
               available on Google’s ad exchange at the expense of rival exchanges.

           •   Google’s AdX was able to charge web publishers in the Plaintiff States
               supracompetitive prices in the ad exchange market due to the ability of AdX to win
               an impression based on a live bid while suppressing live bids from rival exchanges.

               As a result, web publishers in the Plaintiff States received less yield for their ad
               inventory and advertisers were deprived of the ability to transact ad impressions
               through a lower cost exchange.

        Enhanced Dynamic Allocation (“EDA”):


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           •   Google automatically enrolled web publishers that used its ad server into EDA,
               which inhibited rival exchanges from transacting high-revenue impressions offered
               by web publishers in each of the Plaintiff States.

           •   As a result of EDA, web publishers in the Plaintiff States received less yield due to
               rival exchanges with lower take rates being excluded from transacting high-revenue
               inventory and received lower quality ads from AdX.

           •   Additionally, EDA advertisers would benefit from cost savings absent Google’s
               conduct by paying less to purchase ad inventory on rival ad exchanges.

        Dynamic Revenue Sharing (“DRS”):

           •   Beginning in 2014, the general welfare of the Plaintiff States and the economies of
               the Plaintiff States were harmed though Google’s operation of dynamic revenue
               sharing.

           •   The DRS program allowed Google to adjust the take rate of Google’s ad exchange
               to clear the publisher’s pre-set price floor, ensuring that AdX would transact the
               impression that otherwise would have been won by a rival ad exchange.

           •   Publishers were deceived into adopting DRS, relying on Google’s representations
               that it would increase publisher yield.

           •   DRS was then subsequently modified (without notifying publishers) to increase the
               take rate of Google’s ad exchange on subsequent transactions to make up for the
               previous decreased take rate.

           •   Web publishers in the Plaintiff States lost out on higher yields as a result of DRS
               because they did not get the benefit of Google’s discounted take rate since Google
               increased its take rate on subsequent transactions.

           •   DRS operated to increase the number of transactions awarded to AdX while
               depriving rival exchanges of impressions they otherwise would have won.

           •   In competing on take rate only on an impression-by-impression basis, only to
               recoup its revenue on subsequent transactions, Google insulated its ad exchange
               from price competition with rival exchanges.

           •   Web publishers in the Plaintiff States would have benefitted from increased price
               competition among ad exchange take rates and would have used that additional
               yield to create more content, improve the quality of that content, impose lower
               paywalls or eliminate paywalls for internet users.
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           •   Advertisers in each of the Plaintiff States were harmed because DRS operated to
               ensure that more ad inventory transacted through Google’s ad exchange rather than
               lower cost alternatives. If advertisers in each of the Plaintiff States were able to
               submit more competitive bids on AdX due to increased price competition, they
               could provide better quality advertising content and offer the general public of the
               Plaintiff States lower-priced goods and services.

        Reserve Price Optimization:

           •   Beginning in 2015 and continuing to the present day, Google’s operation of RPO
               harmed the general welfare of the Plaintiff States and the economies of the Plaintiff
               States by deceptively increasing the amount paid by advertisers on Google’s ad
               exchange. RPO used Google’s data asymmetries to automate increases to floors set
               by publishers. Importantly, RPO did not decrease any floors set by publishers. It
               only served to increase floors and force advertisers to pay more. Publishers were
               automatically enrolled in Google’s RPO program without their knowledge or
               consent and RPO was not disclosed to advertisers.

           •   Google misled advertisers into believing that its ad exchange was a second price
               auction between 2015 and 2019. Despite these misrepresentations, RPO increased
               price floors set by publishers to eliminate any advantage that an advertiser would
               receive from bidding into a second price auction. Without RPO or with full
               disclosure of RPO’s existence and workings, advertisers would have bid less for
               publisher inventory in which RPO set the price floor.

           •   RPO caused advertisers in each of the Plaintiff States to overbid for publisher
               inventory on which RPO was operational. These deceptive overcharges to
               advertisers in each of the Plaintiff States resulted in lost ad spend which, in turn,
               increased the prices of goods and services sold to consumers. Had advertisers
               known they were bidding into an auction that was utilizing RPO, they would have
               bid less or engaged in bid shading strategies to avoid overbidding for ad
               impressions. Advertisers that pay less for web publisher impressions could provide
               better quality advertising content and offer the general public of the Plaintiff States
               lower-priced goods and services.

        Bernanke:

           •   Bernanke overcharged advertisers for web publisher impressions and suppressed
               revenues for web publishers from 2013 and is conduct that continues to harm the
               general welfare of the Plaintiff States and the economies of the Plaintiff States
               though the present day.

           •   The operation of Bernanke manipulated display advertising auctions to the
               detriment of both web publishers and advertisers located the Plaintiff States.
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           •   “Project Bernanke” underpaid a web publisher after a transaction cleared on AdX,
               with Google secretly retaining a portion of the winning bidder’s payment. Google
               added this secretly retained payment into a pool that was used to increase Google
               Ads wins on its own ad exchange at the expense of rival exchange.

           •   Project Bernanke also overcharged advertisers on certain transactions where
               Google Ads placed the two highest bids into the AdX auction. Once Google
               dropped the lower bid, the advertiser with the highest bid was still forced to pay the
               price of the second highest bid that Google dropped.

           •   Although Google used funds collected from overcharging advertisers and
               underpaying publishers to increase subsequent bids causing some advertisers to win
               impressions they otherwise would have lost, Bernanke did not operate to always
               make publishers whole. In fact through Project Bell, Google ensured that publishers
               who did not enable Dynamic Allocation or otherwise preference Google’s ad
               exchange consistently had bids suppressed for their ad inventory. Further, Google
               did not ensure that advertisers who were overcharged on one transaction were made
               whole on a subsequent transaction. Even when advertisers were made whole
               financially, Bernanke still resulted in advertisers winning more low quality ad
               impressions than they otherwise would have bid for in a competitive market.

           •   If Bernanke did not exist Publishers would get paid their fair share causing them
               create more content, improve the quality of that content, and lower paywalls to
               consumers in each of the Plaintiff States to improve access to valuable content.

           •   If Bernanke did not exist advertisers would not get overcharged on impressions
               purchased through Google Ads on AdX in which Google had the top two bids.
               Without such overcharges, advertisers would spend less on advertising or spend
               advertising dollars more efficiently providing better quality advertising content and
               lower-priced goods and services the general public in each of the Plaintiff States.

        Header Bidding Suppression:

           •   Beginning in 2015, Google engaged in a campaign to thwart web publisher
               adoption of header bidding that introduced competition into the exchange market.
               Google harmed the general welfare of the Plaintiff States and the economies of the
               Plaintiff States. Google continues efforts to undermine header bidding as an
               alternative to their platform to the present day.

           •   Google thwarted publisher’s ability to realize significant increases in revenue
               through the advent of header bidding, which gave publishers the ability to receive
               live, competitive bids from multiple exchanges. Header bidding resulted in
               significant price competition on ad exchange take rates, but through Dynamic
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               Allocation, Enhanced Dynamic Allocation, DRS, and Bernanke, Google was able
               to insulate itself from price competition.

           •   Google took further steps to suppress header bidding and limit the ability of
               publishers to realize the benefits of header bidding.

                  o Google misrepresented to publishers that header bidding would be harmful
                    to them. This led web publishers in each of the Plaintiff States to forego
                    header bidding to their detriment. Publishers that did not use header bidding
                    suffered from decreased yield from their ad inventory causing them to erect
                    or raise paywalls on internet users or lower the quality of content on their
                    webpage. Advertisers in each of the Plaintiff States were also deprived of
                    transacting the same web publisher inventory through lower cost exchanges
                    leading to higher priced goods and services for citizens in each of the
                    Plaintiff States.

                  o Google capped the number of line items a publisher could set for bids
                    received from header bidding exchanges. This limited the effectiveness and
                    precision of header bidding resulting in lost revenue for publishers. Google
                    denied publisher requests that Google increase the number of line items they
                    could set in DFP because the caps were a “tool” to fight header bidding. The
                    cap on publisher line items also directed transactions away from header
                    bidding and towards Exchange Bidding, while depriving rival exchanges of
                    publisher inventory necessary to compete against Google’s monopoly. The
                    limit on publishers’ line items has driven down publishers’ yields and made
                    bids from header bidding exchanges less competitive. The decreased yield
                    from publisher ad inventory causing them to erect or raise paywalls on
                    internet users, increase ad saturation, or lower the quality of content on their
                    webpage.

                  o Google, beginning in 2018, undermined publisher’s ability to compare the
                    relative success of header bidding with the performance of exchange
                    bidding by redacting from its auction records key data fields. In so doing,
                    Google’s publisher clients were denied the ability to measure the
                    performance of different exchanges and foreclosed the price competition
                    brought about by header bidding as a result. Google’s anticompetitive
                    conduct caused publishers in the Plaintiff States to pay more advertising and
                    denied participation in market innovations. The decreased yield from
                    publisher ad inventory causing them to erect or raise paywalls on internet
                    users or lower the quality of content on their webpage. Advertisers in each
                    of the Plaintiff States were also deprived of transacting the same web
                    publisher inventory through lower cost exchanges leading to higher priced
                    goods and services for citizens in each of the Plaintiff States.

                  o In 2018, concerned about the threat posed by header bidding, Google
                    entered into a Network Bidding Agreement (“NBA”) with Facebook. To
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                      prevent Facebook from significantly investing in header bidding for its
                      Facebook Audience Network and developing its own header bidding
                      solution, Google agreed to provide preferential Open Bidding auction terms
                      to Facebook in exchange for spend and pricing commitments from
                      Facebook. The intended consequence of the NBA was to direct Facebook’s
                      clients to transact on Google’s product at the expense of header bidding
                      exchanges. Google’s conduct suppressed the advent of header bidding,
                      decreasing publisher’s yields led publishers to erect or raise paywalls on
                      internet users or lower the quality of content on their webpage.

        Uniform Pricing Rules (“UPR”):

           •   Beginning in 2019, Google imposed Uniform Pricing Rules as part of its transition
               from a second price auction to a first price auction. UPR harmed the general welfare
               of the Plaintiff States and the economies of the Plaintiff States. UPR continues to
               operate to deprive web publishers of making competitive decisions to the present
               day.

           •   Google intentionally designed UPR to unilaterally override publisher choice on
               setting auction floors for their own inventory to undermine publishers that wanted
               to conduct more transactions for higher quality impressions through header bidding
               exchanges and fewer transactions through Google’s ad exchange that often returned
               lower quality impressions.

           •   UPR harmed web publishers who wanted preference higher quality demand and to
               deter low quality ads from Google. Web publishers subject to UPR lost out on the
               ability to optimize their price floors to account of the higher fees that Google
               charged, and the lower quality of ads transacting through Google’s AdX exchange.

           •   Google knew that publishers set higher price floors for Google’s AdX exchange in
               an effort to improve the quality of ads for their impressions and also improve their
               yield by using exchanges who charge lower prices.

           •   Web publishers used price floors to protect their content and preserve web traffic
               to their website. Maintaining or increasing web traffic gave publishers more
               impressions to sell enabling web publishers to create more content, improve the
               quality of that content, and lower paywalls to consumers in each of the Plaintiff
               States.

           •   Advertisers were also harmed by UPR. By paying less for publisher impressions,
               advertisers could provide better quality advertising content and offer the general
               public of the Plaintiff States lower-priced goods and services.

               Each form of anticompetitive and deceptive conduct discussed above caused harm
        to businesses in each Plaintiff State—small, medium, and large—that rely on display
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        advertising. Google’s conduct has resulted in higher prices and lower quality products for
        participants in the ad tech markets and foreclosed competition that would bring about non-
        Google product alternatives. In turn, the Plaintiff States’ economies in general have not
        realized the benefits of competition and instead suffered from stifled innovation and
        investment in the display advertising space.

                Furthermore, and as discussed above, Google’s unlawful conduct also exacts harm
        on consumers (i.e., citizens) in the Plaintiff States and negatively affected the general
        welfare. The use of the internet in the United States, and in the Plaintiff States, is pervasive
        and almost universally adopted. That means that anyone who uses the internet (i.e.,
        consumers in the Plaintiff States) interacts with display advertising. Consumers benefit
        from competition in the form of choice and innovation. The cost savings realized by
        advertisers and publishers could be passed on to consumers, such as lowering subscription
        fees and removing paywalls. At the same time, small and large businesses would need to
        spend less on advertising to generate business. Those savings would benefit consumers
        because businesses could, in turn, lower the price of their goods and services. Increased
        commerce drives economic growth in the Plaintiff States and improves the general welfare.
        Google’s anticompetitive and deceptive conduct inhibits that progress, growth, and welfare
        promotion.


     INTERROGATORY NO. 6: Identify all injunctive or structural relief You seek in this

     Action, including a description of:

        a. the specific relief sought;

        b. the applicable relevant market;

        c. the assets or Ad Tech Product(s) You expect to be impacted;

        d. the proposed duration of the relief; and

        e. how each type of relief sought would “restore competitive conditions in the relevant

        markets” as alleged in Paragraph 683(c)-(d) of the Third Amended Complaint.

        Response: The Plaintiff States object to this interrogatory to the extent it seeks to compel
        a legal conclusion. Further, the Plaintiff States object to this interrogatory as premature
        given the status of the case and the fact that discovery is ongoing, including review of
        documents not timely collected and only recently or not yet produced by Google, and to
        the extent it seeks to compel the Plaintiff States to marshal all of their evidence in advance
        of trial. The Plaintiff States also object on the basis that this request calls for the premature
        disclosure of expert opinions. Expert disclosures will be made within the time prescribed
        by the Court’s Scheduling Order. Finally, the Plaintiff States object to this interrogatory as
        containing discrete sub-parts such that it should constitute multiple interrogatories in
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        considering the interrogatory limit imposed by the Court in this case. ECF No. 194 at 6
        (“This limit on the number of interrogatories includes discrete sub-parts ….”). Subject to
        and without waiving the foregoing objections, the Plaintiff States respond:

           •   Plaintiff States are pursuing all potential remedies that will resolve the
               anticompetitive effects of Google’s conduct. Specifically, Plaintiff States are
               seeking behavioral remedies to address ongoing anticompetitive conduct, including
               but not limited to enjoining Google from the following continuing conduct:

                   o    Plaintiff States seek to enjoin Google from the use of Bernanke (and any
                       subsequent, relevant versions) in its auctions and to force Google to fully
                       disclose how Bernanke worked to publisher and advertisers who were
                       affected by its operation.

                   o Plaintiff States seek to enjoin Google from enforcing Unified Pricing Rules
                     by giving web publishers the ability to turn off this feature.

                   o Plaintiff States seek to enjoin Google from engaging in conduct that
                     undermines publishers’ adoption of or use of procompetitive header bidding
                     technology.

                   o Plaintiff States seek to enjoin the enforcement of the Network Bidding
                     Agreement between Google and Facebook and rescind its terms.

                   o Plaintiff States seek to enjoin Google from limiting Google Ads demand
                     from bidding across multiple exchanges.

                   o Plaintiff States seek to enjoin Google from refusing to integrate third-party
                     or web publishers’ in-house ad servers into its ad exchange.

                   o Plaintiff States seek to enjoin Google from limiting optionality for
                     publishers in its use of Enhanced Dynamic Allocation by giving them a
                     choice to enable or disable the feature.

                   o Plaintiff States seek to enjoin Google from deprecating support for third-
                     party cookies in its Chrome browser and from forcing web publishers,
                     advertisers, ad exchanges, and demand side platforms to participate in its
                     anticompetitive Privacy Sandbox initiative.

           •   The historical operation and combined effects of the continuing conduct addressed
               above and other historically anticompetitive conduct such as Dynamic Allocation
               and Dynamic Revenue Sharing has significantly contributed to an unlawful
               acquisition of monopoly power that behavioral remedies cannot fully address. To
               the extent that the above behavioral remedies do not restore harm to competition
               caused by Google’s conduct, the Plaintiff States also seek structural relief including

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                potential divestiture of one or more of Google’s Ad Tech Products including but
                not limited to:

                       (a) a divestiture of DFP to restore competition in the ad serving and ad
                       exchange markets;

                       (b) a divestiture of AdX to restore competition to the ad exchange and
                       buying tools markets;

                       (c) a divestiture of Google Ads to retore competition to the small ad buying
                       tools and ad exchange markets; and/or

                       (d) a divestiture of DV360 to restore competition to the ad exchange market
                       and prevent monopolization in the market for large ad buying tools.

            •   The Plaintiff States have authority to seek the above remedies under both State and
                Federal law.


     INTERROGATORY NO. 7: Identify the “data and information unlawfully taken from

     consumers by means of deceptive trade practices” for which You seek disgorgement in

     Paragraph 683(g) of the Third Amended Complaint, and describe how such disgorgement is to

     be effected and implemented.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party. Further, the Plaintiff
        States object to this interrogatory as premature given the status of the case and the fact that
        discovery is ongoing, including review of documents not timely collected and only recently
        or not yet produced by Google, and to the extent it seeks to compel the Plaintiff States to
        marshal all of their evidence in advance of trial. The Plaintiff States also object on the basis
        that this request calls for the premature disclosure of expert opinions. Expert disclosures
        will be made within the time prescribed by the Court’s Scheduling Order. Subject to and
        without waiving the foregoing objections, the Plaintiff States respond:

            •   The Plaintiff States incorporate by reference paragraphs 572-583 of the Fourth
                Amended Complaint in response to this interrogatory.

            •   The Fourth Amended Complaint refers to data collected from users of Google
                products and data that Google requires publishers and advertisers to give Google
                about users collected from their visit to and participation on a publisher’s webpage
                as being unlawfully and deceptively taken from internet users by Google.
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     INTERROGATORY NO. 8: Identify with particularity each and every act, practice, or

     statement by Google that You allege to have been unfair or deceptive. As part of your response,

     identify all documents on which you relied on to respond to this Interrogatory.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party. Further, the Plaintiff
        States object to this interrogatory as premature given the status of the case and the fact that
        discovery is ongoing, including review of documents not timely collected and only recently
        or not yet produced by Google, and to the extent it seeks to compel the Plaintiff States to
        marshal all of their evidence in advance of trial. Plaintiff States also object on the basis that
        this is a contention interrogatory that need not be answered until the conclusion of fact
        discovery. Subject to and without waiving the foregoing objections, the Plaintiff States
        respond:

            •   The Plaintiff States hereby incorporate by reference herein paragraphs 526-597 and
                647-758 of the Fourth Amended Complaint in response to this interrogatory. More
                specifically, Google’s acts, practices, and statements that the Plaintiff States believe
                or have reason to believe have been unfair, deceptive, false, and/or misleading,
                and/or which have the capacity or tendency to deceive, or are likely to deceive,
                include but are not limited to the following:

            •   Google’s deceptive, false, and/or misleading acts, misrepresentations, omissions,
                and failure to disclose material information surrounding the use and
                implementation of Project Bernanke to manipulate advertiser bids without their
                knowledge. See, e.g., GOOG-NE-03626245; GOOG-NE-03898431; GOOG-AT-
                MDL-004334894; GOOG-NE-11267438; GOOG-DOJ-14152910; GOOG-NE-
                03898431;    GOOG-DOJ-14254525;          GOOG-NE-13549441;          GOOG-DOJ-
                14157039; GOOG-DOJ-15104543; GOOG-NE-10569088; GOOG-NE-03580452;
                GOOG-NE-03892302; GOOG-AT-MDL-007173084; GOOG-DOJ-15435620;
                GOOG-NE-10929507; GOOG-NE-13468541.

            •   Google’s deceptive, false, and/or misleading acts, misrepresentations, omissions,
                and failure to disclose material information surrounding the use and
                implementation of Reserve Price Optimization and other dynamic flooring
                practices. See, e.g., GOOG-NE-13340735; GOOG-DOJ-14368344; GOOG-DOJ-
                14008433; GOOG-NE-06842715; GOOG-DOJ-15511015; GOOG-AT-MDL-
                003141298;       GOOG-AT-MDL-003164150;            GOOG-AT-MDL-003164158;
                GOOG-AT-MDL-003164162;            GOOG-AT-MDL-003164171;            GOOG-DOJ-
                14147817; GOOG-DOJ-29803801; GOOG-AT-MDL-004242638; GOOG-NE-

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                13229114; GOOG-TEX-00831373; GOOG-NE-05308050; GOOG-NE-12466643;
                GOOG-DOJ-15435620; GOOG-AT-MDL-001890174.

            •   Google’s deceptive, false, and/or misleading acts, misrepresentations, omissions,
                and failure to disclose material information surrounding the use and
                implementation of Dynamic Revenue Sharing. See, e.g., GOOG-NE-04934281;
                GOOG-NE-06842133; GOOG-NE-09485306; GOOG-TEX-00777528; GOOG-
                DOJ-15422521; GOOG-DOJ-14735882; GOOG-NE-04934281; GOOG-DOJ-
                14156440; GOOG-NE-06842715; GOOG-NE-09485306; GOOG-AT-MDL-
                001004706; GOOG-NE-09485306; GOOG-DOJ-14368344; GOOG-DOJ-AT-
                02423615; GOOG-NE-13226622; GOOG-NE-12737317; GOOG-DOJ-14162332.

            •   Google’s deceptive, false, and/or misleading acts, misrepresentations, omissions,
                and failure to disclose material information regarding publisher’s use and
                implementation of header bidding. See, e.g., GOOG-TEX-00036586; GOOG-
                TEX-00971726; GOOG-TEX-00097138; GOOG-NE-12741112; GOOG-TEX-
                00036144; GOOG-DOJ-14323586; GOOG-AT-MDL-003168327; GOOG-NE-
                13414309; GOOG-NE-11797459.

            •   Google’s deceptive, false, and/or misleading acts, misrepresentations, omissions,,
                and failure to disclose material information regarding its collection of user data,
                auction data, and ad log data, and how such data was used to optimize its buying
                tools. See, e.g., GOOG-NE-06910389; GOOG-NE-12794242; GOOG-DOJ-AT-
                02644082; GOOG-DOJ-15611285; GOOG-DOJ-15621058; GOOG-DOJ-
                15789359; GOOG-DOJ-15089206.

            •   Google’s deceptive, false, and/or misleading acts, misrepresentations, omissions,
                and failure to disclose material information relating to the operations of Google’s
                ad serving and auction mechanics; and Google’s deceptive acts, misrepresentations,
                and failure to disclose material information relating to all bidders competing on
                equal footing within Google’s ad exchange. See, e.g., GOOG-NE-02345371;
                GOOG-DOJ-14032377; GOOG-DOJ-15241839; GOOG-TEX-01022605; GOOG-
                AT-MDL-004071049; GOOG-NE-07954222; GOOG-TEX-00633233; GOOG-
                DOJ-AT-01807679;               GOOG-NE-06879032;                 GOOG-AT-MDL-
                003570297;GOOG-NE-07289269.

            •   Discovery and the Plaintiff States’ investigation remains ongoing, and accordingly,
                the Plaintiff States reserve the right to further supplement their objections and
                responses to this interrogatory.


     INTERROGATORY NO. 9: Identify all persons other than Google with whom You

     communicated concerning an Investigation or this Action. In Your response:


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        a. provide the date of each communication, the participants in the communication

        (including each participant’s employer or affiliation), the method of the communication,

        and the subject matter discussed; and


        b. identify any documents disclosed by You or the person during each communication.


        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party as it is duplicative of information included as part of the State Plaintiffs’ Rule 26
        disclosures, information equally available to all parties in documents already produced in
        this case, and/or otherwise not relevant to the facts or claims in this litigation. The Plaintiff
        States also object to this interrogatory to the extent it seeks attorney-client or work product
        privileged information, information subject to the common interest and joint prosecution
        privileges, or to the extent it seeks information not otherwise discoverable under court
        order. Finally, the Plaintiff States object to this interrogatory as containing discrete sub-
        parts such that it should constitute multiple interrogatories in considering the interrogatory
        limit imposed by the Court in this case. ECF No. 194 at 6 (“This limit on the number of
        interrogatories includes discrete sub-parts ….”). Subject to and without waiving the
        foregoing objections, the State Plaintiffs respond:

            •   See Appendix A of Plaintiff States’ forthcoming First Amended Initial Disclosures
                which will list each third party contacted during the investigation by the Plaintiff
                States.

            •   See also, pursuant to Federal Rule of Civil Procedure 33(d)(1), prior document
                productions of third-party communications made by Plaintiff State of Texas.

            •   See also, the privilege log produced by the Plaintiff State of Texas on February 2,
                2024, that identifies non-privileged information about third-party interview
                memoranda, prepared at the direction of attorneys in anticipation of litigation and
                exchanged solely among the common-interest, investigating State Offices of
                Attorney General.

            •   See also, pursuant to Federal Rule of Civil Procedure 33(d)(1), the April 2021
                production of all Texas CID documents, the May 2023 production of all third-party
                communications made by Plaintiff State of Texas, and the forthcoming refreshed
                production of third-party communications to be made on March 22, 2024.




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     INTERROGATORY NO. 10: Identify all persons other than Google who have provided You

     with information that You intend to rely on to support Your claims asserted in this Action, and

     provide a brief description of the information received from each such person.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party as it is duplicative of information included as part of the Plaintiff States Rule 26
        disclosures. Further, the Plaintiff States object to this interrogatory as premature given the
        status of the case and the fact that discovery is ongoing, including the productions and
        review of documents from third parties, and to the extent it seeks to compel Plaintiff States
        to marshal all of their evidence in advance of trial. The Plaintiff States also object to this
        interrogatory to the extent it seeks attorney-client or work product privileged information,
        information subject to the common interest and joint prosecution privileges, or to the extent
        it seeks information not otherwise discoverable under court order. Plaintiff States also
        object on the basis that this is a contention interrogatory that need not be answered until
        the conclusion of fact discovery. Subject to and without waiving any of the foregoing
        objections, the Plaintiff States respond:

            •   See Appendix A of Plaintiff States forthcoming First Amended Initial Disclosures
                which lists each third party contacted during the investigation by the Plaintiff
                States.

            •   The following companies produced documents to Plaintiff States during the
                investigation: Adobe, Amazon, Amobee, AT&T, Comcast, Criteo, Daily Mail,
                Discovery, Duck Duck Go, Facebook, Fox, Hearst, Index Exchange, MediaMath,
                Microsoft, New York Times, News Corp., OpenX, Oracle, Pubmatic, Rubicon
                (now Magnite), SpringServe, The Trade Desk, Verizon, WPP.

            •   The Plaintiff States intend to rely on documents and information produced by other
                plaintiffs who have filed suit against Google and by third parties that have produced
                documents to the parties since the Plaintiff States’ investigation—whose identities
                are all known to Google.

            •   See also, the privilege log produced by the Plaintiff State of Texas on February 2,
                2024, that identifies non-privileged information about third-party interview
                memoranda, prepared at the direction of attorneys in anticipation of litigation and
                exchanged solely among the common-interest, investigating State Offices of
                Attorney General.

            •   See also, pursuant to Federal Rule of Civil Procedure 33(d)(1), the April 2021
                production of all Texas CID documents, the May 2023 production of all third-party
                communications made by Plaintiff State of Texas, and the forthcoming refreshed
                production of third-party communications to be made on March 22, 2024.

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     INTERROGATORY NO. 11: Identify any communications with or from Google upon

     which You rely for any of Your claims, including the dates of such communications, the

     relevant individuals from You and Google who participated in such communications, the

     subject matter of such communications, and all documents related thereto.

        Response: The Plaintiff States object to this interrogatory as vague and ambiguous, overly
        burdensome, and disproportional to the needs of the case as the requesting party’s ability
        to obtain the information is similar or superior to that of the responding party. Further, the
        Plaintiff States object to this interrogatory as premature given the status of the case and the
        fact that discovery is ongoing, including review of documents (including large volumes of
        Google communications) not timely collected and only recently or not yet produced by
        Google, and to the extent it seeks to compel Plaintiff States to marshal all of their evidence
        in advance of trial. Plaintiff States also object on the basis that this is a contention
        interrogatory that need not be answered until the conclusion of fact discovery. Subject to
        and without waiving the foregoing objections, the Plaintiff States respond:

            •   No Plaintiff State is seeking to recover on behalf of State agencies or state run
                entities and do not have the present intention to rely on communications between
                Google and any State agency or state run entity to prove the claims set forth in the
                Fourth Amended Complaint.


     INTERROGATORY NO. 12: Identify all contracts that You allege coerced customers into

     using DFP with AdX, as set forth in Paragraphs 245-252 of the Third Amended Complaint.

     For each contract, identify the specific provisions You contend are coercive in nature.

        Response: The Plaintiff States object to this interrogatory as misstating their claims, which
        allege, among other allegations, that Google’s decision and actions to no longer offer AdX-
        only contracts was coercive. Subject to and without waiving the foregoing objection, the
        Plaintiff States respond:

            •   Google’s Interrogatory mischaracterizes Plaintiff States’ allegations and the state
                of discovery by assuming that Google has produced all actual agreements between
                publishers and DFP.

            •   Plaintiff States allege that Google coercively tied its DFP ad server to its AdX
                exchange through several, related courses of conduct.

            •   Plaintiff States allege that, since around 2009 Google’s policy, practices, and
                actions of restricting the ability of publishers to trade through AdX unless they use
                Google’s ad server and allowing only those which licensed Google’s ad server to
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               receive live, competitive bids from AdX, constituted coercion. See Fourth
               Amended Complaint ¶¶ 246-250.

           •   The Fourth Amended Complaint at Paragraphs 251-252 also alleges that, in or
               around 2018, Google began renegotiating publisher contracts to eliminate the few
               remaining exchange-only contracts in existence and required publishers to either
               sign a combined contract licensing DFP and AdX, or risk losing access to live
               competitive bids from AdX. (See also GOOG-TEX-00059386).
           •
               The alleged conduct at issue was described in MDL Judge Castel’s Order on
               Google’s Motion to Dismiss (which Google has access to) as Google renegotiating
               agreements with publishers and “requiring publishers to sign a combined contract
               that included both Google’s DFP ad server and Google’s AdX exchange.” Castel
               MTD Order at 18.
           •   Plaintiff States assert that Google’s decision and actions to no longer offer AdX-
               only contracts and to require publishers to either sign a combined DFP-AdX
               contract or lose access to live competitive bids from AdX was coercive. (See
               GOOG-TEX-00059678). Google internally called the combination DRX and later
               rebranded DRX and the combination of AdX and DFP under one contract as Google
               Ad Manager or GAM.

           •   This ultimatum from Google coerced publishers into adopting DFP to access AdX
               demand. This allegation is substantiated by documentation of Google’s plans,
               actions, and communications to publishers to stop offering AdX as a stand-alone
               product to publishers. (See GOOG-TEX-00058737.)

           •   Examples of the combined DFP and AdX contracts that Google coerced through its
               ultimatum, as described above, publishers into entering, include but are not limited
               to:

                  o GOOG-TEX-00974509; GOOG-TEX-00976755; GOOG-TEX-00978421;
                    GOOG-TEX-00980662; GOOG-TEX-00975725; GOOG-TEX-00976389;
                    GOOG-TEX-00981687; GOOG-TEX-00976342; COM-00392228; COM-
                    00247113.

                  o Google has also identified other produced GAM or combined DFP and AdX
                    contracts to the States, which are known and equally available to Google.
                    The Plaintiff States have requested further information about contracts, and
                    the Parties are continuing to confer on those issues.

           •   Google’s GAM or combined DFP and AdX contracts with publishers evidence and
               result from Google’s coercive conduct. Relevant specific provisions in each
               contract that relate to the alleged coercion include provisions reflecting the
               combination of Google’s DFP ad server and AdX ad exchange under one contract.


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     INTERROGATORY NO. 13: Identify the “one large publisher” and all other “publishers”

     referenced in Paragraph 247 of the Third Amended Complaint.

        Response: The Plaintiff States object to this interrogatory as overly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party. Subject to and without
        waiving the foregoing objections, the Plaintiff States will meet and confer with Google to
        identify responsive information, if any, within their possession, custody, or control, that is
        not more easily obtained from third parties or that can be provided without causing undue
        burden. Subject to and without waiving the foregoing objections:

            •   The Plaintiff States identify NewsCorp as the “one large publisher.”


     INTERROGATORY NO. 14: Identify the earliest date on which You believe Google

     possessed monopoly power in each of the markets that You allege to be relevant to Your

     claims, and describe how You believe Google obtained monopoly power in each of those

     markets.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party. The Plaintiff States also
        object to this interrogatory to the extent that it seeks to compel a legal conclusion. Further,
        Plaintiff States object to this interrogatory as premature given the status of the case and the
        fact that discovery is ongoing, including review of documents not timely collected and only
        recently or not yet produced by Google, and to the extent it seeks to compel Plaintiff States
        to marshal all of their evidence in advance of trial. The Plaintiff States also object on the
        basis that this request calls for the premature disclosure of expert opinions. Expert
        disclosures will be made within the time prescribed by the Court’s Scheduling Order.
        Plaintiff States also object on the basis that this is a contention interrogatory that need not
        be answered until the conclusion of fact discovery. Subject to and without waiving the
        foregoing objections, the Plaintiff States respond:

                •   The Plaintiff States believe Google possessed monopoly power in the ad
                    serving market as early as 2008 upon the acquisition of DoubleClick.

                •   The Plaintiff States believe Google possessed monopoly power in the ad
                    exchange market as early as 2009.


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                •   The Plaintiff States believe Google possessed monopoly power in the market
                    for buying tools for small advertisers as early as 2009.

                •   The Plaintiff States believe that Google acquired monopoly power in the market
                    for buying tools for large advertisers as early as 2018.


     INTERROGATORY NO. 15: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or

     Display Advertising, identify each Ad Tech Product used during the Relevant Time Period,

     whether from Google or any other Ad Tech Provider. In Your response, provide:

        a. the type of Ad Tech Product used;

        b. the amount of fees or Take Rate by month for each Ad Tech Product used;

        c. the dates during which each Ad Tech Product was used;

        d. all reasons for using and/or switching from one Ad Tech Product to another; and

        e. if applicable, all reasons for ceasing use of an Ad Tech Product.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party or otherwise not relevant
        to the facts or claims in this litigation.The Plaintiff States also object to this interrogatory
        because it seeks information that is not within the possession, custody, or control of their
        respective Offices of the Attorney General and reiterate their objection to the definition of
        “You” stated above. The Plaintiff States are willing to meet and confer with Google to
        identify responsive information, if any, within their possession, custody, or control, that is
        not more easily obtained from third parties or that can be provided without causing undue
        burden. Finally, the Plaintiff States object to this interrogatory as containing discrete sub-
        parts such that it should constitute multiple interrogatories in considering the interrogatory
        limit imposed by the Court in this case. ECF No. 194 at 6 (“This limit on the number of
        interrogatories includes discrete sub-parts ….”). Subject to and without waiving the
        foregoing objections:

            •   The Arkansas Office of Attorney General Public Protection Division has used
                Google AdWords services from November 1, 2013 to present. The Take Rate is not
                applicable, as this service was not purchased with the goal of monetary gain. Ad
                Tech products were used to notify the public of laws concerning tobacco purchases

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               in the State of Arkansas and to deter sales of contraband tobacco products. At no
               time did the Public Protection Division cease the use of or switch Ad Tech products.

           •   The Plaintiff State of North Dakota specifically identifies the North Dakota Lottery
               (“ND Lottery”) as the only division of the North Dakota Office of Attorney General
               that has used display advertising or ad tech products during the Relevant Period.

               The Plaintiff State of North Dakota restates its objection to Relevant Time Period,
               if it is meant to be “Relevant Period.” The “Relevant Period,” as defined, is
               overbroad, unduly burdensome, and disproportional to the needs of the case. The
               State of North Dakota will provide responses to this Interrogatory to the extent that
               the State of North Dakota has the information in its possession, custody, or control.

                      a. the type of Ad Tech Product used: The ND Lottery has used Google
                         Display, DV360 (Adswerve), YouTube (Pre-roll), Meta (Facebook and
                         Instagram), Forum Communications (Programmatic Pre-Rolls and
                         Programmatic Display), Midco (OTT/CTV), Hulu (OTT/CTV),
                         Outstream Video, Extreme Reach, Teads, Dynadmic, Pandora, Google
                         Campaign Manager, and Simpli.Fi.

                      b. the amount of fees or Take Rate by month for each Ad Tech Product used:
                          The ND Lottery does not have any information regarding fees or Take
                          Rate for Ad Tech Products used.

                      c. the dates during which each Ad Tech Product was used: The ND
                         Lottery’s use of Ad Tech Products identified in a., above, depends on
                         each advertising buy, campaign, and budget. The use of Ad Tech
                         Products is reflected in each media buy. The ND Lottery used Google
                         Display and YouTube Pre-Roll until March 2022, and began using
                         DV360 in December of 2022. The ND Lottery used Teads In-read video
                         from 2016 to 2019 and switched to Outstream Video in November 2019.
                         The ND Lottery tried Dynadmic video and Extreme Reach for a short
                         time from 8/6/2017 to 9/2/2017.

                      d. all reasons for using and/or switching from one Ad Tech Product to
                         another: While using YouTube Pre Roll and Google Display, ND
                         Lottery had persistent issues with Google flagging its ads as unapproved
                         online gambling. ND Lottery stopped using YouTube Pre Roll and
                         Google Display in March 2022, as neither ad tech product would run its
                         advertising campaign. ND Lottery was informed by its advertising
                         agency that Google rejected the advertising campaign because of a
                         sentence in the ND Lottery’s website global footer, which references the
                         contact information for Responsible Gaming Help. Google specifically
                         had issues with the language: “If gambling is no longer fun call 2-1-1,
                         contact GamblerND in North Dakota or Gamblers Anonymous.” Google
                         would only approve ND Lottery’s advertising campaign if it agreed to
                                                33
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                         remove this section of the Responsible Gaming Help language. Per the
                         ND Lottery’s Administrative Rules 10-16-01-02, Advertising,
                         Subsection b, the ND Lottery provides retailers with Problem Gambling
                         Helpline Telephone Number. Since the Responsible Gaming Help
                         language is provided to retailers, the ND Lottery is legally required to
                         provide it to the public as a public service. ND Lottery could not make
                         the change requested by Google, and ND Lottery had to switch the online
                         advertising budget it would have used on Google Display/YouTube over
                         to Facebook. In or around December of 2022, ND Lottery tried DV360,
                         negotiated ad/website language that would allow it to advertise using
                         DV360, and subsequently switched some of its advertising budget to
                         DV360. In June 2023, the ND Lottery’s advertising agency, Kranzler
                         Kingsley Communications Ltd d/b/a KK Bold (“KK Bold”), was bought
                         out by another advertising agency, Odney, Inc, dba Odney Advertising
                         (“Odney”). Odney took over the marketing and advertising services
                         contract July 1, 2023. Odney uses Google Campaign Manager and
                         Simpli.Fi as their ad tech product.

                      e. if applicable, all reasons for ceasing use of an Ad Tech Product: See
                         response to d.

           •   The Plaintiff State of Indiana identifies the following links containing a
               searchable directory identifying staff of Indiana State Agencies, Departments,
               Boards, and Commissions:

               (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
               (https://www.in.gov/apps/iot/find-a-person/)

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Indiana Office of the Attorney
               General.

               The Plaintiff State of Indiana specifically identifies the Indiana Office of Attorney
               General Unclaimed Property Division (“UPD”) as the only division of the Indiana
               Office of Attorney General that has used display advertising or ad tech products
               during the Relevant Period. The Indiana Office of Attorney General works through
               an outside vendor to purchase advertising services, including display advertising,
               for UPD.

               The Indiana Office of Attorney General UPD has provided some general targeting
               criteria to its vendor The Prosper Group for some campaigns for Display
               Advertising as defined. Specifically, it has directed internal information on
               potential owners to its vendor in connection with social advertising campaigns.
               Additionally, UPD it has provided geographic targeting goals to its vendor in
               connection with specific video campaigns. However, the communication of any
               specific targeting criteria to Ad Tech Providers is managed through its vendor. The
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              specific Properties where Display Advertisements have been placed is not
              information within the possession, custody, or control of the Indiana Office of
              Attorney General.

              The Plaintiff State of Indiana restates its objection to “the Relevant Time Period,”
              if it is meant to be “Relevant Period.” The “Relevant Period,” as defined, is
              overbroad, unduly burdensome, and disproportional to the needs of the case. The
              State of Indiana will provide responses to this Interrogatory to the extent that the
              State of Indiana has the information in its possession, custody, or control.

              The Plaintiff State of Indiana will produce documents related to its use of Display
              Advertising through advertising contracts with outside vendors.

                     a. the type of Ad Tech Product used: The Indiana Office of Attorney
                        General does not select individual Ad Tech Products. It uses an outside
                        vendor, The Prosper Group, PO Box 488, Greenwood, IN 46142, to
                        purchase advertising services, including Display Advertising, for UPD.
                        Previously, the Indiana Office of Attorney General used a different
                        vendor, The Basement, 1075 Broad Ripple Avenue, Ste 381,
                        Indianapolis, IN 46220, to purchase advertising services, including
                        Display Advertising, for UPD.

                     b. the amount of fees or Take Rate by month for each Ad Tech Product used:
                         The Indiana Office of Attorney General does not track fees or Take Rates
                         by Ad Tech Product used.

                     c. the dates during which each Ad Tech Product was used: The Indiana
                        Office of Attorney General does not direct or track the use of individual
                        Ad Tech Products. The Indiana Office of Attorney General has allocated
                        some of its UPD advertising budget through The Prosper Group to
                        display advertising in different campaigns since at least May, 2021.

                     d. all reasons for using and/or switching from one Ad Tech Product to
                        another: The Indiana Office of Attorney General does not select
                        individual Ad Tech Products. Any Display Advertising purchased for
                        any UPD advertising campaign was arranged through its outside vendor.

                        As part of UPD’s reliance on its outside vendor, the vendor has on one
                        or more occasions recommend shifting spend between different
                        advertising mediums and given notice of proposed changes to UPD. UPD
                        does not independently formulate a strategy as to individual Ad Tech
                        Products but relies on its vendor’s expertise to formulate a strategy and
                        select individual Ad Tech Products.

                     e. if applicable, all reasons for ceasing use of an Ad Tech Product: The
                        Indiana Office of Attorney General does not select individual Ad Tech
                                               35
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                         Products. Any Display Advertising purchased for any UPD advertising
                         campaign was arranged through its outside vendor.

           •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
               an organizational chart of the executive branch of government in the
               Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
               General does not have any independent knowledge of whether any other state
               agency, entity, division, or department of the Commonwealth, including any
               contained on the organizational chart available at the link provided, has used
               Display Advertising or Ad Tech Products, but the Office remains willing to meet
               and confer with Google to facilitate discovery with state agencies.

               The Office further states that the Kentucky Office of the Attorney General has used
               Ad Tech Products and Display Advertising. The Office has retained an outside firm,
               Red7e, for advertising, marketing, and digital media services in connection with
               various ad campaigns. The ad campaigns managed by Red7e used various forms of
               Display Advertising, including but not limited to advertisements on Facebook,
               Instagram, and streaming devices. Please see the Red7e documentation the
               Commonwealth is producing in response to Google’s First Set of Requests for
               Production for additional details. The Office has also used LinkedIn for job
               postings. Please see the LinkedIn invoices the Commonwealth is producing in
               response to Google’s First Set of Requests for Production for additional details. As
               to the specific subparts of Interrogatory No. 15, responses are provided below:

                      a. the type of Ad Tech Product used: LinkedIn; Facebook; Instagram.
                         Please see the Red7e documentation the Kentucky Office of the Attorney
                         General is producing in response to Google’s First Set of Requests for
                         Production for additional details regarding the type of AdTech Product
                         used.

                      b. the amount of fees or Take Rate by month for each Ad Tech Product used:
                         The Kentucky Office of the Attorney General has information regarding
                         the fees it paid for LinkedIn and the fees it paid to Red7e. Please see the
                         Red7e and LinkedIn documentation the Office is producing in response
                         to Google’s First Set of Requests for Production for additional details.
                         The Office does not have information on the Take Rate for each Ad Tech
                         Product used.

                      c. the dates during which each Ad Tech Product was used: The Kentucky
                         Office of the Attorney General used LinkedIn in April of 2020,
                         September of 2021, and July of 2022. The Office has worked with Red7e
                         in 2021, 2022, and 2023. At the time of service of these responses, the
                         Office continues to work with Red7e. Please see the Red7e and LinkedIn
                         documentation the Commonwealth is producing in response to Google’s
                         First Set of Requests for Production for full details regarding the dates
                         during which each Ad Tech Product was used.
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                      d. all reasons for using and/or switching from one Ad Tech Product to
                         another: The Kentucky Office of the Attorney General does not have
                         information on the reasons for using and/or switching from one Ad Tech
                         Product to another, other than what appears in the Red7e documentation
                         the Office is producing in response to Google’s First Set of Requests for
                         Production. The documents generally show that the reasons for using
                         and/or switching from one AdTech Product to another was based on the
                         needs of the particular advertising campaign. Those needs were informed
                         by, but not limited to, budget and audience reach.


                      e. if applicable, all reasons for ceasing use of an Ad Tech Product: The
                         Kentucky Office of the Attorney General does not have information on
                         the reasons for ceasing use of an Ad Tech Product other than what
                         appears in the document production the Office has previously made to
                         Google in response to Google’s First Set of Requests for Production.

           •   The Louisiana Gaming Division and Public Protection Division have purchased
               display advertising on limited occasions in the past for specific campaigns directed
               at messaging regarding fair housing and gambling. The purchase of said limited
               display advertising was made with non-state funds and through an outside
               advertising agency that would have selected the strategy, products, and providers.
               In addition, the Plaintiff State of Louisiana, by and through its Attorney General’s
               Office identifies the following link containing a directory of all Louisiana State
               Agencies:

               https://www.louisiana.gov/government/agency-
               directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
               ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
               iana%20Legislature%20Louisiana%20State%20University%20System

           •   The Plaintiff State of Alaska is providing Defendants with a table containing the
               requested information separately from, and concurrently with, these Fourth
               Amended responses.

           •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
               Exhibit “A” a list of contact information for their respective state agencies, which
               are in a superior position to provide Google with the information it seeks. The
               Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
               whether these entities use display advertising or ad tech products, and such
               information is not within their possession, custody, or control.

           •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
               identifies the following link containing a full list of Missouri State Agencies,
               Departments, Boards, and Commissions:
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                      (https://www.mo.gov/search-results?mode=state_agencies).

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Missouri Office of the Attorney
               General. The foregoing link includes contact information for each Missouri
               Agency, Department, Board, and Commission. Each such Agency, Department,
               Board, and Commission would be in a superior position to provide Google with the
               information it seeks.

           •   The Nevada AGO has not purchased display advertising or used ad tech products
               during the Relevant Period, and does not have possession, custody or control of
               documents or information for other state agencies. However, as stated in the
               Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
               are willing to voluntarily produce relevant documents or information without the
               formal issuance by Google of a FRCP 45 subpoena. The documents these
               Additional Nevada Agencies are willing to voluntarily produce would include
               information that is responsive to the requests in Interrogatory No. 15, and the
               Nevada AGO is willing to facilitate the voluntary production from these Additional
               Nevada Agencies within a reasonable period of time.

           •   The PRDOJ has reason to believe that a third-party advertising agency hired by the
               Department used Display Advertising in several advertising campaigns they were
               contracted to administer during the relevant time period, which were designed with
               the goal of educating the public about Puerto Rico’s sexual offender registry and
               the government resources and services available to victims of crimes and witnesses
               thereto, including crimes related to sexual assault. The Take Rate is not applicable,
               as this service was not purchased with the goal of monetary gain. Display
               Advertising may have been part of this advertising campaign, which primarily
               consisted of traditional media advertising such as radio, TV, and physical
               billboards. At no time did the PRDOJ cease the use of or switch of Ad Tech
               products.

           •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
               Florida, Mississippi, Missouri, Montana, South Carolina, and South Dakota have
               not purchased display advertising or used ad tech products during the Relevant
               Period.

           •   The Utah Department of Commerce purchased display advertising or ad tech
               products as follows:

                      a. Type of AdTech Product used:

                          i.      Commerce’s first flight of advertising of the Scamalot: Protect
                                  Thyself from Frauds and Scams campaign, which ran from May
                                  22 to July 31, 2023. The channels used include television,
                                               38
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                                 outdoor, native, display, Google Discovery, Connected TV,
                                 Online Video (OLV), YouTube, search, and LinkedIn.
                       ii.       Commerce also partnered with the Utah Department of Health
                                 and Human Services (DHHS) and the Utah Governor’s Office
                                 of Families (Office), as well as provided partial funding for the
                                 Harms of Social Media: Unmask the Dangers of Social Media
                                 campaign, which began the first advertising flight on August 3,
                                 2023, and ran it through December 31, 2023. The channels used
                                 include display, search (Google), connected TV, YouTube,
                                 Meta, and Snap. A second flight began in January 2024 with an
                                 emphasis on public relations and Spanish-language outreach.
                       iii.      Additionally, Commerce ran a short, paid display advertising
                                 campaign through LinkedIn to recruit for attendees to discuss AI
                                 regulation in Utah.

                    b. Amount of fees or take rate by month for each product used:

                       i.        Scamalot Campaign
                                 - CTV (The Trade Desk): $30,000
                                 - Display (The Trade Desk): $23,000
                                 - Display/Native (Google): $7,400
                                 - Native (The Trade Desk): $30,000
                                 - Online Video (The Trade Desk) $20,000
                                 - Search (Google): $9,600
                                 - Youtube (Google): $30,000
                                 - Meta: $35,145
                                 - Linkedin: $5,000
                       ii.       Social Harms
                                 - Display (The Trade Desk): $15,000
                                 - Search (Google): $5,000
                                 - CTV (The Trade Desk): $39,000
                                 - Youtube (Google): $21,000
                                 - Meta: $39,523.81
                                 - Snap: $9,999.38

                    c. The dates during which each Ad Tech Product was used:

                              i. Scamalot: May 22, 2023 – July 31, 2023
                              ii. Social Harms: August 3, 2023 – December 31, 2023.



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                        d.   All reasons for using and/or switching from one Ad Tech Product to
                             another:

                             Not known to Commerce, as it is only invoiced for the total media
                             buy and fees are not outlined in the invoice. Penna Powers, the ad
                             agency used, may be able to disclose those. Printouts concerning
                             dates of ad campaigns, impressions and investment for the Scamalot
                             and Social Harms campaigns are attached herewith as Exhibit C.

                        e. If applicable, all reasons for ceasing use of an Ad Tech Product:

                             The response to this interrogatory is not known by the Department of
                             Commerce but is known by the ad agency, Penna Powers.

     INTERROGATORY NO. 16: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or

     Display Advertising, identify each account associated with each Ad Tech Product used and

     provide:

       a. the dates during which each account was in use;

       b. all entities associated with each account;

       c. all account IDs, including Google Customer IDs (CIDs), associated with each account;

       d. the individuals and entities, including external advertising agencies, who had

        responsibility for and access to each account and the contact information for each; and

       e. the settings for each account over time, including bidding methodologies for Display

        Advertisements (e.g., manual or automated bidding), bidding strategy, attribution and User

        tracking, any changes made from the default settings including enabling or disabling

        certain Features, any limits or thresholds set for Bid amounts, the associated time period in

        which these changes were made, and reasons for doing so.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party or otherwise not relevant
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        to the facts or claims in this litigation. The Plaintiff States also object to this interrogatory
        because it seeks information that is not within the possession, custody, or control of their
        respective Offices of the Attorney General and reiterate their objection to the definition of
        “You” stated above. The Plaintiff States are willing to meet and confer with Google to
        identify responsive information, if any, within their possession, custody, or control, that is
        not more easily obtained from third parties or that can be provided without causing undue
        burden. Finally, the Plaintiff States object to this interrogatory as containing discrete sub-
        parts such that it should constitute multiple interrogatories in considering the interrogatory
        limit imposed by the Court in this case. ECF No. 194 at 6 (“This limit on the number of
        interrogatories includes discrete sub-parts ….”). Subject to and without waiving the
        foregoing objections:

            •   The Arkansas Office of Attorney General operates a single account for Ad Tech
                Services.

                        a) November 1, 2023—Present

                        b) Arkansas Office of Attorney General, Public Protection Division

                        c) Account Number 862-941-6906; Google Customer ID 0596-6592-3895-
                           7671

                        d) Two individuals:
                           1. Charles Saunders, Assistant Attorney General, Arkansas Office of
                           Attorney General, 323 Center St., Little Rock, AR 72201
                           2. Bryant Stanfield, Logistics Director, Arkansas Office of Attorney
                           General, 323 Center St., Little Rock, AR 72201

                        e) Because this is a Google account, Google should be in possession of most
                           of the information sought in this section. All information sought in this
                           section that would not be in the possession of Google is included in the
                           State of Arkansas’ response to Interrogatory No. 18.

            •   The ND Lottery does not have possession, custody, or control over this information.
                The ND Lottery’s Ad Tech product accounts have been handled by a third party,
                namely Kranzler Kingsley Communications Ltd d/b/a KK Bold (“KK Bold”), 505
                East Main Avenue Suite 250, Bismarck, ND, 58501, telephone (701) 255-3067,
                during the Relevant Time Period until June 30, 2023. Since July 1, 2023, Odney,
                Inc. has been the vendor of contract for marketing and advertising services. Odney,
                Inc.’s contact information is 117 West Front Avenue, Bismarck, ND, 58504,
                telephone (701) 222-8721.

            •   The Plaintiff State of Indiana identifies the following links containing a searchable
                directory identifying staff of Indiana State Agencies, Departments, Boards, and
                Commissions:

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                    (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                 (https://www.in.gov/apps/iot/find-a-person/)

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Indiana Office of the Attorney
               General.

               The Plaintiff State of Indiana specifically identifies the Unclaimed Property
               Division as the only division of the Indiana Office of Attorney General that has
               used display advertising or ad tech products during the Relevant Period.

               The Indiana Office of Attorney General does not directly purchase individual Ad
               Tech Products and does not have any information on any individual Ad Tech
               “account” used for such purpose. Any Display Advertising purchased for any UPD
               advertising campaign was arranged through its outside vendor. Specifically, UPD
               maintains a Google Analytics account for purposes of tracking website traffic on
               indianaunclaimed.gov but does not purchase Display Advertising through that
               account. UPD understands that Display Advertising purchases for UPD are made
               by its outside vendor through a Google Analytics account for which it lacks access.
               Additionally, UPD maintains an account for facebook.com which, among other
               things, allows ads to be purchased for UPD through its outside vendor. However,
               UPD does not arrange the purchase of ads on behalf of the account and relies on its
               vendor to purchase Display Advertising.

           •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
               an organizational chart of the executive branch of government in the
               Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
               General does not have any independent knowledge of whether any other state
               agency, entity, division, or department of the Commonwealth, including any
               contained on the organizational chart available at the link provided, has used
               Display Advertising or Ad Tech Products, but the Office remains willing to meet
               and confer with Google to facilitate discovery with state agencies.

               The Kentucky Office of the Attorney General states that it does not have
               information on subparts (a) through (e) of Interrogatory No 16. The Office’s
               “accounts” associated with each Ad Tech Product have been handled by a third
               party—Red7e—located at 637 W Main Street Louisville, Kentucky 40202. The
               Plaintiff Commonwealth of Kentucky interpreted Interrogatory No. 16, when it
               asked to “identify each account associated with each Ad Tech Product” to be
               requesting information on the account name or number tied to a specific Ad Tech
               Product and not asking for any internal, administrative numbers used by the
               Kentucky Office of the Attorney General to track or process payments to Red7e for
               its services. To the extent Google is requesting information on the former, that
               information, if it exists, will be best addressed by Red7e, as that agency has handled
               the Office’s use of Display Advertising and Ad Tech Products. If as part of
               Interrogatory No. 16 Google is requesting all internal, administrative reference
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               numbers the Kentucky Office of the Attorney General has used to track payment
               and processing of Red7e invoices, then the Commonwealth refers Google to those
               specific documents within its production in response to Google’s First Set of
               Requests for Production.

           •   The Plaintiff State of Louisiana, by and through its Attorney General’s Office
               identifies the following link containing a directory of all Louisiana State Agencies:

               https://www.louisiana.gov/government/agency-
               directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
               ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
               iana%20Legislature%20Louisiana%20State%20University%20System

               The Louisiana Gaming Division and Public Protection Division have purchased
               display advertising on limited occasions in the past for specific campaigns directed
               at messaging regarding fair housing and gambling. The purchase of said limited
               display advertising was made with non-state funds and through an outside
               advertising agency that would have selected the strategy, products, and providers.

           •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
               Exhibit “A” a list of contact information for their respective state agencies, which
               are in a superior position to provide Google with the information it seeks. The
               Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
               whether these entities use display advertising or ad tech products, and such
               information is not within their possession, custody, or control.

           •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
               identifies the following link containing a full list of Missouri State Agencies,
               Departments, Boards, and Commissions:

                      (https://www.mo.gov/search-results?mode=state_agencies).

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Missouri Office of the Attorney
               General. The foregoing link includes contact information for each Missouri
               Agency, Department, Board, and Commission. Each such Agency, Department,
               Board, and Commission would be in a superior position to provide Google with the
               information it seeks.

           •   The Nevada AGO has not purchased display advertising or used ad tech products
               during the Relevant Period, and does not have possession, custody or control of
               documents or information for other state agencies. However, as stated in the
               Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
               are willing to voluntarily produce relevant documents or information without the
               formal issuance by Google of a FRCP 45 subpoena. The documents these
               Additional Nevada Agencies are willing to voluntarily produce would include
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                information that is responsive to the requests in Interrogatory No. 16, and the
                Nevada AGO is willing to facilitate the voluntary production from these Additional
                Nevada Agencies within a reasonable period of time.

            •   The PRDOJ does not directly purchase individual Ad Tech Products and does not
                have any information on any individual Ad Tech “account” used for such purpose.
                Any Display Advertising purchased for any PRDOJ advertising campaign was
                arranged through its outside vendor.

            •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                Florida, Mississippi, Missouri, Montana, South Carolina, and South Dakota have
                not purchased display advertising or used ad tech products during the Relevant
                Period.

            •   The Utah Department of Commerce responds as follows:
                a. Dates used:
                   - Scamalot: May 22 to July 31, 2023.
                   - Social Harms: Dates used from August 3 to December 31, 2023.
                b. Entities:
                   - Scamalot - Utah Department of Commerce, Utah Division of Consumer
                        Protection, Utah Division of Professional Licensing, Utah Division of Real
                        Estate, and Utah Division of Securities. Agency is Penna Powers, who uses
                        TradeDesk and LumenAd.
                   - Social Harms Entities: Utah Department of Commerce, Utah Department of
                        Health and Human Services, and Utah Governor’s Office of Families.
                        Agency is Penna Powers, who uses TradeDesk and LumenAd.
                c. Account IDs, including Google Customer IDs (CIDs) associated with each:
                        The CID used for Commerce is 289-107-2827. A different CID was used
                        by Penna Powers for both the Scamalot and Social Harms campaigns. This
                        was possibly CID 565-422-4444.
                d. The individuals and entities, including external advertising agencies, who had
                   responsibility for and access to each account and the contact information for
                   each: The ad agency used was Penna Powers, which uses TradeDesk and
                   LumenAd. The individuals at Penna Powers are Marc Stryker and Gail Olds.
                e. The settings for each account over time, including bidding methodologies for
                   Display Advertisements (e.g., manual or automated bidding), bidding strategy,
                   attribution and User tracking, any changes made from the default settings
                   including enabling or disabling certain features, any limits or thresholds set for
                   bid amounts, the associated time period in which these changes were made, and
                   reasons for doing so:. The response to this interrogatory is not known by
                   Commerce but may be known by the ad agency.


     INTERROGATORY NO. 17: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or
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     Display Advertising, identify the monthly return on investment or return on advertising spend

     as a result of using each Ad Tech Product, including Google as well as non-Google Products.

     In Your answer, describe how each agency, department, entity, or division determines return

     on investment or return on advertising spend.

        Response: The Plaintiff States object to this interrogatory as overly broad, unduly
        burdensome, and disproportional to the needs of the case as it places an undue burden on
        the responding party that outweighs its expected benefits and the requesting party’s ability
        to obtain the information is similar or superior to that of the responding party or otherwise
        not relevant to the facts or claims in this litigation. The Plaintiff States also object to this
        interrogatory because it seeks information that is not within the possession, custody, or
        control of their respective Offices of the Attorney General and reiterate their objection to
        the definition of “You” stated above. The Plaintiff States are willing to meet and confer
        with Google to identify responsive information, if any, within their possession, custody, or
        control, that is not more easily obtained from third parties or that can be provided without
        causing undue burden. Subject to and without waiving the foregoing objections:

            •   The State of Arkansas states that this interrogatory is inapplicable to the State of
                Arkansas, as its use of Ad Tech Products and Display Advertising were not
                intended to create a return on investment, but solely to operate as a notice to the
                public.

            •   The ND Lottery does not track return on investment or return on advertising spend.
                The ND Lottery has received some analytics relating to its online advertisement
                from KK Bold, however, not regarding return on investment or return on
                advertising spend.

            •   The Plaintiff State of Indiana identifies the following links containing a searchable
                directory identifying staff of Indiana State Agencies, Departments, Boards, and
                Commissions:

                     (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                  (https://www.in.gov/apps/iot/find-a-person/)

                Information regarding their use of display advertising or display ad products is not
                within the possession, custody or control of the Indiana Office of the Attorney
                General.

                The Plaintiff State of Indiana specifically identifies the Unclaimed Property
                Division as the only division of the Indiana Office of Attorney General that has
                used display advertising or ad tech products during the Relevant Period.


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               The Indiana Office of Attorney General does not track return on investment or
               return on advertising spend by Ad Tech Product used. The Indiana Office of
               Attorney General has only purchased display advertising in furtherance of UPD’s
               noncommercial mission which includes informing owners of the existence of
               unclaimed property held by UPD.

           •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
               an organizational chart of the executive branch of government in the
               Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
               General does not have any independent knowledge of whether any other state
               agency, entity, division, or department of the Commonwealth, including any
               contained on the organizational chart available at the link provided, has used
               Display Advertising or Ad Tech Products, but the Office remains willing to meet
               and confer with Google to facilitate discovery with state agencies.

               The Kentucky Office of the Attorney General refers to the information contained
               in the Red7e documentation the Office is producing in response to Google’s First
               Set of Requests for Production, including the document entitled “Digital/Internet
               Advertising Recap.” The Kentucky Office of the Attorney General further states
               that it does not track return on investment or return on advertising spend beyond
               the analytics and information it has received from Red7e. The Kentucky Office of
               the Attorney General has used Display Advertising or Ad Tech Products to raise
               awareness on the subjects of the ad campaigns for which it has used Red7e.

           •   The Plaintiff State of Louisiana, by and through its Attorney General’s Office
               identifies the following link containing a directory of all Louisiana State Agencies:

               https://www.louisiana.gov/government/agency-
               directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
               ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
               iana%20Legislature%20Louisiana%20State%20University%20System

               The Louisiana Gaming Division and Public Protection Division have purchased
               display advertising on limited occasions in the past for specific campaigns directed
               at messaging regarding fair housing and gambling. The purchase of said limited
               display advertising was made with non-state funds and through an outside
               advertising agency that would have selected the strategy, products and providers.
               The State of Louisiana states that this interrogatory is inapplicable, as its limited
               use of Ad Tech Products and Display Advertising were not intended to create a
               return on investment, but solely to operate as a notice to the public on the limited
               topics of the campaigns.

           •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
               Exhibit “A” a list of contact information for their respective state agencies, which
               are in a superior position to provide Google with the information it seeks. The
               Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
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               whether these entities use display advertising or ad tech products, and such
               information is not within their possession, custody, or control.

           •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
               identifies the following link containing a full list of Missouri State Agencies,
               Departments, Boards, and Commissions:

                      (https://www.mo.gov/search-results?mode=state_agencies).

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Missouri Office of the Attorney
               General. The foregoing link includes contact information for each Missouri
               Agency, Department, Board, and Commission. Each such Agency, Department,
               Board, and Commission would be in a superior position to provide Google with the
               information it seeks.

           •   The Nevada AGO has not purchased display advertising or used ad tech products
               during the Relevant Period, and does not have possession, custody or control of
               documents or information for other state agencies. However, as stated in the
               Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
               are willing to voluntarily produce relevant documents or information without the
               formal issuance by Google of a FRCP 45 subpoena. The documents these
               Additional Nevada Agencies are willing to voluntarily produce would include
               information that is responsive to the requests in Interrogatory No. 17, and the
               Nevada AGO is willing to facilitate the voluntary production from these Additional
               Nevada Agencies within a reasonable period of time.

           •   The PRDOJ states that this interrogatory is inapplicable to the Commonwealth of
               Puerto Rico, as its use of Ad Tech Products and Display Advertising were not
               intended to create a return on investment, but solely to operate as a notice to the
               public.

           •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
               Florida, Mississippi, Missouri, Montana, South Carolina, and South Dakota have
               not purchased display advertising or used ad tech products during the Relevant
               Period.

           •   The Utah Department of Commerce responds as follows: As State of Utah agencies,
               the Utah Department of Commerce, the Utah Department of Health and Human
               Services, and the Utah Governor’s Office of Families do not garner revenue or
               commissions from our advertising, and thus doesn’t track a traditional return on
               investment. The Department of Commerce looks for ad performance, complete
               view rates, number of click-throughs to its websites, and general sense of public
               awareness and reach of the campaign. Links to ad performance for each campaign
               can be found here: Scamalot and Social Harms.

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     INTERROGATORY NO. 18: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or

     Display Advertising, identify all factors that have influenced Display Advertising strategy,

     selection of Ad Tech Providers, and selection of Ad Tech Products.

        Response: The Plaintiff States object to this interrogatory as overly broad, unduly
        burdensome, and disproportional to the needs of the case as it places an undue burden on
        the responding party that outweighs its expected benefits and the requesting party’s ability
        to obtain the information is similar or superior to that of the responding party or otherwise
        not relevant to the facts or claims in this litigation. The Plaintiff States also object to this
        interrogatory because it seeks information that is not within the possession, custody, or
        control of their respective Offices of the Attorney General and reiterate their objection to
        the definition of the word “You” stated above. The Plaintiff States are willing to meet and
        confer with Google to identify responsive information, if any, within their possession,
        custody, or control, that is not more easily obtained from third parties or that can be
        provided without causing undue burden. Subject to and without waiving the foregoing
        objections:

            •   The State of Arkansas states that the factor that influenced its display advertising
                strategy were the State of Arkansas’ goal to notify persons located in Arkansas of
                laws governing tobacco purchases within the State of Arkansas and to deter the sale
                of contraband tobacco products. The selection of Google AdWords was made
                because Google is the most used search engine and the most used online advertising
                platform for searches.

            •   The ND Lottery has relied on recommendations and decisions from its advertising
                agency regarding Display Advertising strategy and selection of Ad Tech Providers
                and Products. The ND Lottery provides a budget to its advertising agency and relies
                on the advertising agency to make recommendations on how and where to advertise
                based on the budget and the nature and goal of the advertising campaign. ND
                Lottery does not tell its advertising agency what Ad Tech Providers and Ad Tech
                Products to use. ND Lottery hires an advertising agency to rely on their expertise.

            •   The Plaintiff State of Indiana identifies the following links containing a searchable
                directory identifying staff of Indiana State Agencies, Departments, Boards, and
                Commissions:

                     (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                  (https://www.in.gov/apps/iot/find-a-person/)



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               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Indiana Office of the Attorney
               General.

               The Plaintiff State of Indiana specifically identifies the Unclaimed Property
               Division as the only division of the Indiana Office of Attorney General that has
               used display advertising or ad tech products during the Relevant Period.

               The Indiana Office of Attorney General UPD has relied on input and decisions from
               its outside vendor for decisions relating to Display Advertising strategy and
               selection of individual Ad Tech Providers and Ad Tech Products. The Indiana
               Office of Attorney General has provided campaign budgets to its vendor and relied
               on the vendor to make recommendations on how and where to advertise based on
               the budget and the nature and goal of the advertising campaign.

               As part of UPD’s reliance on its outside vendor, the vendor has on one or more
               occasions recommend shifting spend between different advertising mediums and
               given notice of proposed changes to UPD. UPD does not independently formulate
               a strategy as to individual Ad Tech Providers or Ad Tech Products but relies on its
               vendor’s expertise to formulate a strategy and select individual Ad Tech Providers
               and Ad Tech Products.

           •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
               an organizational chart of the executive branch of government in the
               Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
               General does not have any independent knowledge of whether any other state
               agency, entity, division, or department of the Commonwealth, including any
               contained on the organizational chart available at the link provided, has used
               Display Advertising or Ad Tech Products, but the Office remains willing to meet
               and confer with Google to facilitate discovery with state agencies.

               The Kentucky Office of the Attorney General states that it relies on input from
               Red7e regarding advertising, marketing, and digital media services, including its
               input on selecting any Ad Tech Providers and Ad Tech Products. In addition, the
               Office states that what Ad Tech Providers or Ad Tech Products are used is also a
               function of the details of each ad campaign, including the budget of the campaign
               and the intended audience of the campaign. Please see the Red7e documentation
               the Commonwealth is producing in response to Google’s First Set of Requests for
               Production for additional information on the details of each ad campaign. The
               documents the Commonwealth has produced in response to Google’s First Set of
               Requests for Production generally show that the “factors that have influenced
               Display Advertising strategy, selection of Ad Tech Providers, and selection of Ad
               Tech Products” are based on the needs or requirements of the particular advertising
               campaign in question, and the needs and requirements of those campaigns were
               informed by, but not limited to, the budget for the campaign and the intended
               audience of the campaign.
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           •   The Louisiana Gaming Division and Public Protection Division have purchased
               display advertising on limited occasions in the past for specific campaigns directed
               at messaging regarding fair housing and gambling. The purchase of said limited
               display advertising was made with non-state funds and through an outside
               advertising agency that would have selected the strategy, products and providers.
               In addition, the Plaintiff State of Louisiana, by and through its Attorney General’s
               Office identifies the following link containing a directory of all Louisiana State
               Agencies:


               https://www.louisiana.gov/government/agency-
               directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
               ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
               iana%20Legislature%20Louisiana%20State%20University%20System


           •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
               Exhibit “A” a list of contact information for their respective state agencies, which
               are in a superior position to provide Google with the information it seeks. The
               Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
               whether these entities use display advertising or ad tech products, and such
               information is not within their possession, custody, or control.

           •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
               identifies the following link containing a full list of Missouri State Agencies,
               Departments, Boards, and Commissions:

                      (https://www.mo.gov/search-results?mode=state_agencies).

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Missouri Office of the Attorney
               General. The foregoing link includes contact information for each Missouri
               Agency, Department, Board, and Commission. Each such Agency, Department,
               Board, and Commission would be in a superior position to provide Google with the
               information it seeks.

           •   The Nevada AGO has not purchased display advertising or used ad tech products
               during the Relevant Period, and does not have possession, custody or control of
               documents or information for other state agencies. However, as stated in the
               Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
               are willing to voluntarily produce relevant documents or information without the
               formal issuance by Google of a FRCP 45 subpoena. The documents these
               Additional Nevada Agencies are willing to voluntarily produce would include
               information that is responsive to the requests in Interrogatory No. 18, and the

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                Nevada AGO is willing to facilitate the voluntary production from these Additional
                Nevada Agencies within a reasonable period of time.

            •   The Plaintiff State of Alaska is providing Defendants with a table containing the
                requested information separately from, and concurrently with, these Fourth
                Amended responses.

            •   The Commonwealth of Puerto Rico states that this Interrogatory is inapplicable to
                the PRDOJ because it did not make any decisions about its Display Advertising
                strategy, because such decisions were handled by a third party.

            •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                Florida, Mississippi, Missouri, Montana, South Carolina, and South Dakota have
                not purchased display advertising or used ad tech products during the Relevant
                Period.

            •   The State of Utah Department of Commerce responds as follows: The Department
                of Commerce does not know the strategy or cost effectiveness of Digital
                Advertising. This decision is left to the ad agency, Penna Powers.


     INTERROGATORY NO. 19: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or

     Display Advertising, describe the impact of Header Bidding on Digital Advertising strategy or

     the cost effectiveness of Digital Advertising.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party or otherwise not relevant
        to the facts or claims in this litigation. The Plaintiff States also object to this interrogatory
        because it seeks information that is not within the possession, custody, or control of their
        respective Offices of the Attorney General and reiterate their objection to the definition of
        “You” stated above. The Plaintiff States are willing to meet and confer with Google to
        identify responsive information, if any, within their possession, custody, or control, that is
        not more easily obtained from third parties or that can be provided without causing undue
        burden. Subject to and without waiving the foregoing objections:

            •   The State of Arkansas states that the only effect that Header Bidding on Digital
                advertising has had on the State of Arkansas Office of Attorney General’s digital
                advertising strategy was that the account operator placed a bid limit of $500 on the
                account. Automatic bidding is enabled on the account.

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               The North Dakota Lottery does not have any information regarding Header
               Bidding, its impact on the Digital Advertising strategy or the cost effectiveness of
               the ND Lottery’s Digital Advertising.

           •   The Plaintiff State of Indiana identifies the following links containing a searchable
               directory identifying staff of Indiana State Agencies, Departments, Boards, and
               Commissions:

                    (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                 (https://www.in.gov/apps/iot/find-a-person/)

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Indiana Office of the Attorney
               General.

               The Plaintiff State of Indiana specifically identifies the Unclaimed Property
               Division as the only division of the Indiana Office of Attorney General that has
               used display advertising or ad tech products during the Relevant Period.

               The Indiana Office of Attorney General does not have any information regarding
               Header Bidding, its impact on its Digital Advertising strategy or the cost
               effectiveness of UPD’s Digital Advertising.

           •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
               an organizational chart of the executive branch of government in the
               Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
               General does not have any independent knowledge of whether any other state
               agency, entity, division, or department of the Commonwealth, including any
               contained on the organizational chart available at the link provided, has used
               Display Advertising or Ad Tech Products, but the Office remains willing to meet
               and confer with Google to facilitate discovery with state agencies.

               The Kentucky Office of the Attorney General states that it does not have any
               information regarding the impact of Header Bidding on Digital Advertising strategy
               or the cost effectiveness of Digital Advertising.

           •   The Louisiana Gaming Division and Public Protection Division have purchased
               display advertising on limited occasions in the past for specific campaigns directed
               at messaging regarding fair housing and gambling. The purchase of said limited
               display advertising was made with non-state funds and through an outside
               advertising agency that would have selected the strategy including that regarding
               Header Bidding and its impact on the Digital Advertising strategy, products and
               providers. In addition, the Plaintiff State of Louisiana, by and through its Attorney
               General’s Office identifies the following link containing a directory of all Louisiana
               State Agencies:

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               https://www.louisiana.gov/government/agency-
               directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
               ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
               iana%20Legislature%20Louisiana%20State%20University%20System

           •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
               Exhibit “A” a list of contact information for their respective state agencies, which
               are in a superior position to provide Google with the information it seeks. The
               Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
               whether these entities use display advertising or ad tech products, and such
               information is not within their possession, custody, or control.

           •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
               identifies the following link containing a full list of Missouri State Agencies,
               Departments, Boards, and Commissions:

                      (https://www.mo.gov/search-results?mode=state_agencies).

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Missouri Office of the Attorney
               General. The foregoing link includes contact information for each Missouri
               Agency, Department, Board, and Commission. Each such Agency, Department,
               Board, and Commission would be in a superior position to provide Google with the
               information it seeks.

           •   The Nevada AGO has not purchased display advertising or used ad tech products
               during the Relevant Period, and does not have possession, custody or control of
               documents or information for other state agencies. However, as stated in the
               Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
               are willing to voluntarily produce relevant documents or information without the
               formal issuance by Google of a FRCP 45 subpoena. The documents these
               Additional Nevada Agencies are willing to voluntarily produce would include
               information that is responsive to the requests in Interrogatory No. 19, and the
               Nevada AGO is willing to facilitate the voluntary production from these Additional
               Nevada Agencies within a reasonable period of time.

           •   The Plaintiff State of Alaska responds that, after diligent inquiry, the AGO has
               determined to the best of its ability that state agencies have not independently
               evaluated “the impact of Header Bidding on Digital Advertising strategy or the cost
               effectiveness of Digital Advertising.”

           •   Plaintiff the Commonwealth of Puerto Rico responds that, after diligent inquiry, the
               PRDOJ has determined to the best of its ability that it has not independently
               evaluated “the impact of Header Bidding on Digital Advertising strategy or the cost
               effectiveness of Digital Advertising.”

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            •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                Florida, Mississippi, Missouri, Montana, South Carolina, and South Dakota have
                not purchased display advertising or used ad tech products during the Relevant
                Period.

            •   The State of Utah Department of Commerce responds as follows: The Department
                of Commerce does not know the strategy or cost effectiveness of Digital
                Advertising. This decision is left to the ad agency, Penna Powers.


     INTERROGATORY NO. 20: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or

     Display Advertising, describe the Properties on which Display Advertisements have been

     placed, including any restrictions on the placement of Display Advertisements and any

     applicable criteria, settings, or parameters, or any instructions given to Agencies or Ad Tech

     Providers regarding the placement of Display Advertisements.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party or otherwise not relevant
        to the facts or claims in this litigation. The Plaintiff States also object to this interrogatory
        because it seeks information that is not within the possession, custody, or control of their
        respective Offices of the Attorney General and reiterate their objection to the definition of
        “You” stated above. The Plaintiff States are willing to meet and confer with Google to
        identify responsive information, if any, within their possession, custody, or control, that is
        not more easily obtained from third parties or that can be provided without causing undue
        burden. Subject to and without waiving the foregoing objections:

            •   The State of Arkansas states that the account has restricted advertisements to
                searches geolocated within the State of Arkansas. The AdWords account has
                parameters of associated search keywords. The Search Keyword report is attached
                to this supplemental response. Because this is a Google account, Google should be
                in possession of the information sought in this interrogatory.

            •   The ND Lottery only advertises in locations where the targeted audience is 18+
                years old and North Dakota residents. In certain instances, North Dakota Lottery
                may seek to focus its advertising on bigger cities in the state. The ND Lottery seeks
                to advertise on sites where its audience is likely to have a history in gaming. The
                specific Properties where Display Advertisements have been placed is not
                information within the possession, custody, or control of ND Lottery.
                                                 54
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           •   The Plaintiff State of Indiana identifies the following links containing a searchable
               directory identifying staff of Indiana State Agencies, Departments, Boards, and
               Commissions:

                    (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                 (https://www.in.gov/apps/iot/find-a-person/)

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Indiana Office of the Attorney
               General.

               The Plaintiff State of Indiana specifically identifies the Unclaimed Property
               Division as the only division of the Indiana Office of Attorney General that has
               used display advertising or ad tech products during the Relevant Period.

               The Indiana Office of Attorney General UPD has provided some general targeting
               criteria to its vendor The Prosper Group for some campaigns for Display
               Advertising as defined. Specifically, it has directed internal information on
               potential owners to its vendor in connection with social advertising campaigns.
               Additionally, UPD it has provided geographic targeting goals to its vendor in
               connection with specific video campaigns. However, the communication of any
               specific targeting criteria to Ad Tech Providers is managed through its vendor. The
               specific Properties where Display Advertisements have been placed is not
               information within the possession, custody, or control of the Indiana Office of
               Attorney General.

           •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
               an organizational chart of the executive branch of government in the
               Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
               General does not have any independent knowledge of whether any other state
               agency, entity, division, or department of the Commonwealth, including any
               contained on the organizational chart available at the link provided, has used
               Display Advertising or Ad Tech Products, but the Office remains willing to meet
               and confer with Google to facilitate discovery with state agencies.

               The Kentucky Office of the Attorney General refers to the Red7e documentation
               the Office is producing in response to Google’s First Set of Requests for
               Production, including the document entitled “Digital/Internet Advertising Recap.”
               As for any restrictions on the placement of Display Advertisements and any
               applicable criteria, settings, or parameters, or any instructions given regarding the
               placement of Display Advertisements, the Office does not have information other
               than what appears in the Red7e documentation the Commonwealth is producing in
               response to Google’s First Set of Requests for Production. Please see those
               documents for details. Please also see the documents the Kentucky Office of
               Attorney General produced to Google in response to the First Set of Requests for
                                                55
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               Production. Those documents show that the Office has provided general audience
               targeting criteria to its vendor, Red7e, for some ad campaigns for the Office.

           •   The Plaintiff State of Louisiana, by and through its Attorney General’s Office
               identifies the following link containing a directory of all Louisiana State Agencies:

               https://www.louisiana.gov/government/agency-
               directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
               ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
               iana%20Legislature%20Louisiana%20State%20University%20System

               The Louisiana Gaming Division and Public Protection Division have purchased
               display advertising on limited occasions in the past for specific campaigns directed
               at messaging regarding fair housing and gambling. The purchase of said limited
               display advertising was made with non-state funds and through an outside
               advertising agency that would have selected the strategy, products, and providers.

           •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
               Exhibit “A” a list of contact information for their respective state agencies, which
               are in a superior position to provide Google with the information it seeks. The
               Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
               whether these entities use display advertising or ad tech products, and such
               information is not within their possession, custody, or control.

           •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
               identifies the following link containing a full list of Missouri State Agencies,
               Departments, Boards, and Commissions:

                      (https://www.mo.gov/search-results?mode=state_agencies).

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Missouri Office of the Attorney
               General. The foregoing link includes contact information for each Missouri
               Agency, Department, Board, and Commission. Each such Agency, Department,
               Board, and Commission would be in a superior position to provide Google with the
               information it seeks.

           •   The Nevada AGO has not purchased display advertising or used ad tech products
               during the Relevant Period, and does not have possession, custody or control of
               documents or information for other state agencies. However, as stated in the
               Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
               are willing to voluntarily produce relevant documents or information without the
               formal issuance by Google of a FRCP 45 subpoena. The documents these
               Additional Nevada Agencies are willing to voluntarily produce would include
               information that is responsive to the requests in Interrogatory No. 20, and the

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                Nevada AGO is willing to facilitate the voluntary production from these Additional
                Nevada Agencies within a reasonable period of time.

            •   The Plaintiff State of Alaska is providing Defendants with a table containing the
                requested information separately from, and concurrently with, these Fourth
                Amended responses.

            •   The PRDOJ states that it has reason to believe that Display Advertising may have
                been used as part of several public education campaigns administered by a third-
                party agency during the relevant time period. Although the campaigns in question
                were designed to educate the public about Puerto Rico’s sexual offender registry
                and the availability of government programs and resources for victims and
                witnesses of crimes, including sexual assault, and for that reason were targeted to
                the local Puerto Rican population, the purchase of said limited display advertising
                was made through an outside advertising agency that would have selected the
                strategy, products, and providers.

            •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                Florida, Mississippi, Missouri, Montana, South Carolina, and South Dakota have
                not purchased display advertising or used ad tech products during the Relevant
                Period.

            •   The State of Utah Department of Commerce responds as follows: The Department
                of Commerce does not know the strategy or cost effectiveness of Digital
                Advertising. This decision is left to the ad agency, Penna Powers.


     INTERROGATORY NO. 21: Separately for each agency, department, entity, or division of

     Your state (including the office of the Attorney General) that has used Ad Tech Products or

     Display Advertising, identify by date and description any studies or analyses concerning return

     on investment for Display Advertising, including analyses comparing the performance, value,

     or effectiveness of Google Ad Tech Products to other Ad Tech Products.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits and the requesting party’s ability to obtain the
        information is similar or superior to that of the responding party or otherwise not relevant
        to the facts or claims in this litigation. The Plaintiff States also object on the basis that this
        request calls for the premature disclosure of expert opinions. Expert disclosures will be
        made within the time prescribed by the Court’s Scheduling Order. Further, the Plaintiff
        States object to this interrogatory because it seeks information that is not within the
        possession, custody, or control of their respective Offices of the Attorney General and
                                                    57
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        reiterate their objection to the definition of “You” stated above. The Plaintiff States are
        willing to meet and confer with Google to identify responsive information, if any, within
        their possession, custody, or control, that is not more easily obtained from third parties or
        that can be provided without causing undue burden. Subject to and without waiving the
        foregoing objections:

           •   The State of Arkansas states that this interrogatory is inapplicable to the State of
               Arkansas, as its use of Ad Tech Products and Display Advertising were not
               intended to create a return on investment, but solely to operate as a notice to the
               public.

           •   The ND Lottery does not track return on investment for Display Advertising and
               does not have any studies or analysis concerning return on investment or the
               performance or effectiveness of Ad Tech Products. The ND Lottery has received
               some analytics relating to its online advertisement from KK Bold, however, not
               relating to return on investment for Display Advertising.

           •   The Plaintiff State of Indiana identifies the following links containing a searchable
               directory identifying staff of Indiana State Agencies, Departments, Boards, and
               Commissions:

                     (https://www.in.gov/apps/iot/find-a-person/phonebook/PhoneBook.pdf)
                                  (https://www.in.gov/apps/iot/find-a-person/)

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Indiana Office of the Attorney
               General.

               The Plaintiff State of Indiana specifically identifies the Unclaimed Property
               Division as the only division of the Indiana Office of Attorney General that has
               used display advertising or ad tech products during the Relevant Period.

               The Indiana Office of Attorney General does not track return on investment for
               Display Advertising. The Indiana Office of Attorney General has only purchased
               Display Advertising in connection with UPD’s noncommercial mission which
               includes informing owners of the existence of unclaimed property held by UPD.
               The Indiana Office of Attorney General is producing documents reflecting ad
               performance prepared by its vendor The Prosper Group. Other than the very limited
               information available to UPD by way of Google’s Ad Transparency Center or the
               Meta Transparency Center, UPD’s knowledge of the results of advertising
               campaigns is limited to what is reported by its vendor, and it has not conducted any
               independent comparative analysis.

           •   The Plaintiff Commonwealth of Kentucky identifies the following link containing
               an organizational chart of the executive branch of government in the
               Commonwealth: OC-Statewide.pdf (ky.gov). The Kentucky Office of the Attorney
                                             58
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               General does not have any independent knowledge of whether any other state
               agency, entity, division, or department of the Commonwealth, including any
               contained on the organizational chart available at the link provided, has used
               Display Advertising or Ad Tech Products, but the Office remains willing to meet
               and confer with Google to facilitate discovery with state agencies.

               The Kentucky Office of the Attorney General refers to the Red7e documentation
               the Commonwealth is producing in response to Google’s First Set of Requests for
               Production, including, but not limited to the document entitled “Digital/Internet
               Advertising Recap.” See also the document entitled “Missing Children Phase 2
               Digital Media End of Campaign Report October 23, 2023 – November 6, 2023,”
               which was included in the document production made on February 26, 2024. The
               Kentucky Office of the Attorney General further states that it does not track return
               on investment or return on advertising spend beyond the analytics and information
               it has received from Red7e. The Kentucky Office of the Attorney General has used
               Display Advertising or Ad Tech Products to raise awareness on the subjects of the
               ad campaigns for which it has used Red7e.

           •   The Plaintiff State of Louisiana, by and through its Attorney General’s Office
               identifies the following link containing a directory of all Louisiana State Agencies:

               https://www.louisiana.gov/government/agency-
               directory/#:~:text=Louisiana%27s%20Community%20and%20Technical%20Coll
               ege%20System%20Louisiana%20Division,Administration%20Program%20Louis
               iana%20Legislature%20Louisiana%20State%20University%20System

               The Louisiana Gaming Division and Public Protection Division have purchased
               display advertising on limited occasions in the past for specific campaigns directed
               at messaging regarding fair housing and gambling. The purchase of said limited
               display advertising was made with non-state funds and through an outside
               advertising agency that would have selected the strategy, products, and providers.
               The State of Louisiana states that this interrogatory is inapplicable, as its limited
               use of Ad Tech Products and Display Advertising were not intended to create a
               return on investment, but solely to operate as a notice to the public on the limited
               topics of the campaigns.

           •   The Plaintiff States of Texas, Idaho, and Mississippi attach to these responses as
               Exhibit “A” a list of contact information for their respective state agencies, which
               are in a superior position to provide Google with the information it seeks. The
               Plaintiff States of Texas, Idaho, and Mississippi do not possess knowledge as to
               whether these entities use display advertising or ad tech products, and such
               information is not within their possession, custody, or control.

           •   The Plaintiff State of Missouri, by and through its Attorney General’s Office
               identifies the following link containing a full list of Missouri State Agencies,
               Departments, Boards, and Commissions:
                                                59
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                      (https://www.mo.gov/search-results?mode=state_agencies).

               Information regarding their use of display advertising or display ad products is not
               within the possession, custody or control of the Missouri Office of the Attorney
               General. The foregoing link includes contact information for each Missouri
               Agency, Department, Board, and Commission. Each such Agency, Department,
               Board, and Commission would be in a superior position to provide Google with the
               information it seeks.

           •   The Nevada AGO has not purchased display advertising or used ad tech products
               during the Relevant Period, and does not have possession, custody or control of
               documents or information for other state agencies. However, as stated in the
               Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
               are willing to voluntarily produce relevant documents or information without the
               formal issuance by Google of a FRCP 45 subpoena. The documents these
               Additional Nevada Agencies are willing to voluntarily produce would include
               information that is responsive to the requests in Interrogatory No. 21, and the
               Nevada AGO is willing to facilitate the voluntary production from these Additional
               Nevada Agencies within a reasonable period of time.

           •   The Plaintiff State of Alaska responds that, after diligent inquiry, the AGO has
               determined to the best of its ability that state agencies have not conducted or
               undertaken any “studies or analyses concerning return on investment for Display
               Advertising, including analyses comparing the performance, value, or effectiveness
               of Google Ad Tech Products to other Ad Tech Products.”

           •   The PRDOJ states that this interrogatory is inapplicable to Plaintiff the
               Commonwealth of Puerto Rico because it has conducted no such studies; the
               PRDOJ believes that Display Advertising may have been used on limited occasions
               in the past for specific campaigns, as described above, which were designed to
               educate the public about Puerto Rico’s sexual offender registry and the availability
               of government programs and resources for victims and witnesses of crimes
               including those related to sexual assault. The purchase of said limited display
               advertising was made through an outside advertising agency that would have
               selected the strategy, products, and providers.

           •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
               Florida, Mississippi, Missouri, Montana, South Carolina, and South Dakota have
               not purchased display advertising or used ad tech products during the Relevant
               Period.

           •   The Utah Department of Commerce responds as follows: Analysis of performance
               is set forth in Exhibit C to these interrogatory responses. As State of Utah agencies,
               the Utah Department of Commerce, the Utah Department of Health and Human
               Services, and the Utah Governor’s Office of Families do not garner revenue or
                                                   60
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               commissions from our advertising, and thus doesn’t track a traditional return on
               investment. The Department of Commerce looks for ad performance, complete
               view rates, number of click-throughs to its websites, and general sense of public
               awareness and reach of the campaign. Links to ad performance for each campaign
               can be found here: Scamalot and Social Harms.


     INTERROGATORY NO. 22: Identify all facts and documents supporting Your allegations

     concerning the alleged 2020 Facebook boycott described in Paragraph 175 of the Third

     Amended Complaint.

        Response: The Plaintiff States objects to this interrogatory as overly broad, unduly
        burdensome, and disproportional to the needs of the case. Plaintiff States also object to this
        interrogatory as premature given the status of the case and the fact that discovery is
        ongoing, including review of documents not timely collected and only recently or not yet
        produced by Google, and to the extent it seeks to compel Plaintiffs to marshal all of their
        evidence in advance of trial. The Plaintiff States also object on the basis that this request
        calls for the premature disclosure of expert opinions. Expert disclosures will be made
        within the time prescribed by the Court’s Scheduling Order. Plaintiff States also object on
        the basis that this is a contention interrogatory that need not be answered until the
        conclusion of fact discovery. Subject to and without waiving the foregoing objections, the
        Plaintiff States respond:

           •   These allegations were based on publicly available information. The Plaintiff States
               will supplement their response to this interrogatory at a later date if they obtain
               additional information that is not readily available in the public domain.

               •   npr.org//07/01/885853634/big-brands-abandon-facebook-threatening-to-
                   derail-a-70b-advertising-juggernaut
               •   cnn.com/2020/06/19/tech/north-face-facebook-ads/index.html
               •   https://www.cnet.com/tech/mobile/civil-rights-groups-slam-facebook-call-for-
                   ad-boycott-north-face-rei/
               •   https://www.cnbc.com/2020/06/22/patagonia-joins-growing-list-of-
                   companies-boycotting-facebook-ads.html
               •   https://www.theverge.com/2020/6/25/21303717/verison-facebook-adl-ad-
                   boycott-instagram-north-face-rei-ben-and-jerrys
               •   https://www.bbc.com/news/business-53204072
               •   https://www.reuters.com/article/facebook-ads-boycott-unilever-
                   idUSL1N2E3170/
               •   https://www.reuters.com/article/facebook-ads-boycott-unilever-
                   idUSL1N2E3170/

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                 •   https://www.cnn.com/2020/06/28/business/facebook-ad-boycott-
                     list/index.html
                 •   https://www.cbc.ca/news/business/facebook-ad-boycott-canada-1.5631054
                 •   https://www.bbc.com/news/technology-53235302
                 •   cbc.ca/news/business/facebook-canada-big-banks-advertising-boycott-
                     1.5634395
                 •   https://www.cnbc.com/2020/06/27/diageo-will-pause-ad-spend-on-major-
                     social-media-platforms.html



     INTERROGATORY NO. 23: For the following alleged conduct, describe the facts and

     identify the documents that support Your assertion that each is a continuing violation such that

     the statute of limitations is tolled and/or equitable tolling applies:

         a. tying DFP to AdX, as described in Paragraphs 245-52 of the Third Amended Complaint;

         b. Encryption of User IDs, as described in Paragraphs 254-66 of the Third Amended
         Complaint;

         c. Dynamic Allocation, as described in Paragraphs 267-81 of the Third Amended
         Complaint;

         d. Enhanced Dynamic Allocation, as described in Paragraphs 282-96 of the Third Amended
         Complaint;

         e. Bernanke, as described in Paragraphs 297-317 of the Third Amended Complaint;

         f. Dynamic Revenue Share, as described in Paragraphs 318-30 of the Third Amended
         Complaint;

         g. Reserve Price Optimization, as described in Paragraphs 331-51 of the Third Amended
         Complaint;

         h. implementing a cap on active Line Items in DFP as described in Paragraphs 389-94 of
         the Third Amended Complaint; and

         i. Accelerated Mobile Pages, as described in Paragraphs 406-12 of the Third Amended
         Complaint.

         Response: The Plaintiff States object to this interrogatory as premature given the status of
         the case and the fact that discovery is ongoing, including review of documents not timely
         collected and only recently or not yet produced by Google, and to the extent it seeks to
                                                  62
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        compel Plaintiff States to marshal all of their evidence in advance of trial. The Plaintiff
        States object on the basis that this request calls for the premature disclosure of expert
        opinions. Expert disclosures will be made within the time prescribed by the Court’s
        Scheduling Order. Plaintiff States also object on the basis that this is a contention
        interrogatory that need not be answered until the conclusion of fact discovery. Finally, the
        Plaintiff States object to this interrogatory as containing discrete sub-parts such that it
        should constitute multiple interrogatories in considering the interrogatory limit imposed by
        the Court in this case. ECF No. 194 at 6 (“This limit on the number of interrogatories
        includes discrete sub-parts ….”). Subject to and without waiving the foregoing objections,
        the Plaintiff States responds:

           •   The Plaintiff States have sufficiently described the conduct at issue in their Fourth
               Amended Complaint and identify the following documents as supporting the
               allegations in the paragraphs identified:

               a. Tying DFP to AdX: GOOG-TEX-00145163, GOOG-NE-08112779, GOOG-
                  TEX-00089237, GOOG-NE-05243813, GOOG-NE-06732710, GOOG-NE-
                  03467508, GOOG-NE-04440670;

               b. Encryption of User IDs: GOOG-NE-09026329, GOOG-TEX-00873254;

               c. Dynamic Allocation: GOOG-TEX-00775968, GOOG-NE-05241137, GOOG-
                  TEX-00036284,         GOOG-NE-04384116,        FBTEX_00277367,
                  FBTEX_00048775, GOOG-NE-01728417, GOOG-TEX-00473222, GOOG-
                  NE-01431592;

               d. Enhanced Dynamic Allocation: GOOG-TEX-00001229,                      GOOG-NE-
                  09776369, GOOG-NE-03900351, GOOG-NE-09026329;

               e. Bernanke: GOOG-NE-05279363, GOOG-NE-06841582,                        GOOG-NE-
                  10929493; GOOG-NE-10569088, GOOG-NE-03898431,                        GOOG-NE-
                  13083558, GOOG-TEX-00828547, GOOG-NE-13468541,                       GOOG-NE-
                  03227701, GOOG-NE-06592460, GOOG-NE-03898431,                        GOOG-NE-
                  03892302, GOOG-NE-06592460, GOOG-TEX-01154251,                       GOOG-NE-
                  11753797, GOOG-NE-11926612, GOOG-NE-13468541,                        GOOG-NE-
                  06839089, GOOG-NE-13624783;

               f. Dynamic Revenue Share: GOOG-NE-04934281, GOOG-NE-09485542,
                  GOOG-NE-04294619, GOOG-NE-06842715, GOOG-NE-04934281, GOOG-
                  TEX-00777528, GOOG-NE-09485306;

               g. Reserve Price Optimization: GOOG-NE-04933892, GOOG-NE-13204729,
                  GOOG-TEX-00326649,       GOOG-NE-13201773,    GOOG-NE-04933892,
                  GOOG-TEX-01149719,       GOOG-NE-13231832,    GOOG-NE-10951885,
                  GOOG-TEX-00780272,       GOOG-NE-13389693,    GOOG-NE-13204729,

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                     GOOG-NE-10985210, GOOG-NE-06591119, GOOG-NE-10544618, GOOG-
                     NE-09485306, GOOG-NE-13415537, GOOG-TEX-00374779, GOOG-NE-
                     11794129, GOOG-TEX-0071969, GOOG-NE-13340735, GOOG-TEX-
                     00797340, GOOG-NE-06842715, GOOG-TEX-00106310;

                h. Line Item Caps: GOOG-TEX-00090969, GOOG-TEX-00090961;

                i.   Accelerated Mobile Pages: GOOG-NE-09724514, GOOG-TEX-00004021,
                     GOOG-TEX-00326424, GOOG-TEX-00831373, GOOG-TEX-00134732,
                     GOOG-NE-11201630,      GOOG-TEX-00123034,    GOOG-NE-12720941,
                     GOOG-NE-03246461, GOOG-NE-08412355, GOOG-NE-03246461, GOOG-
                     NE-12570719.


     INTERROGATORY NO. 24: For each of Your state’s agencies, entities, divisions, or

     departments identified in response to Interrogatory No. 1, state whether You have possession,

     custody, and/or control over documents concerning the use of Display Advertising or Ad Tech

     products by that agency, entity, division, or department. If so, include in Your answer the

     locations, custodians, and general description of such documents. If not, identify all person(s)

     with possession, custody, and/or control of such documents.

        Response: The Plaintiff States object to this interrogatory as unduly burdensome and
        disproportional to the needs of the case as it places an undue burden on the responding
        party that outweighs its expected benefits. The Plaintiff States also object to this
        interrogatory to the extent is seeks to compel a legal conclusion. Subject to and without
        waiving the foregoing objections, the Plaintiff State respond:

            •   Plaintiff States’ respective Offices of the Attorney General do not have possession,
                custody, or control over documents or personnel from any state agency, entity,
                division, or department identified in Interrogatory No. 1 with the exception of North
                Dakota Lottery, which is a division of the North Dakota Office of Attorney General.

            •   The State of Arkansas objects that, because this is a Google account, Google should
                be in possession of documents associated with the account. To the extent that there
                are documents not within the possession of Google, the State of Arkansas Office of
                Attorney General has possession, custody, and control over documents concerning
                the use of display advertising or ad tech products only relating to the
                aforementioned Google AdWords account No. 862-941-6906, which is maintained
                by the Arkansas Office of Attorney General Public Protection Division. Such
                documents are maintained within the Google AdWords account, are not stored
                external to that account, and are maintained by Charles Saunders, Assistant
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                Attorney General. Documents relating to payments made to Google in maintaining
                the Google AdWords account are maintained by the State of Arkansas Office of
                Attorney General’s Fiscal Division.

            •   The Commonwealth of Kentucky objects to this interrogatory as unduly
                burdensome and disproportional to the needs of the case as it places an undue
                burden on the responding party that outweighs its expected benefits and the
                requesting party’s ability to obtain the information is similar or superior to that of
                the responding party or otherwise not relevant to the facts or claims in this litigation.
                Indeed, Google can issue and has issued subpoenas in this case to agencies of the
                Commonwealth. The Commonwealth also objects to this interrogatory to the extent
                it seeks information that is not within the possession, custody, or control of the
                Kentucky Office of the Attorney General and reiterates its objection to the
                definition of “You” stated above. The Commonwealth is willing to meet and confer
                with Google to identify responsive information, if any, within its possession,
                custody, or control, that is not more easily obtained from third parties or that can
                be provided without causing undue burden.

                Subject to and without waiving the foregoing objections, the Kentucky Office of
                the Attorney General states that the persons with possession, custody, and/or
                control of such documents are those agencies, entities, divisions, or departments.
                For a list of all executive branch agencies, entities, divisions, or departments of the
                Commonwealth, please see the organization chart at this link: OC-Statewide.pdf
                (ky.gov). The Office remains willing to meet and confer with Google to facilitate
                discovery with state agencies.

            •   The Plaintiff State of Alaska responds that, after diligent inquiry, the AGO has
                determined to the best of its ability that state agencies have not conducted or
                undertaken any “studies or analyses concerning return on investment for Display
                Advertising, including analyses comparing the performance, value, or effectiveness
                of Google Ad Tech Products to other Ad Tech Products.”

                Plaintiff the Commonwealth of Puerto Rico responds that the PRDOJ has recently
                identified limited documents in its possession related to the several informational
                campaigns it has commissioned in the past regarding sexual assault and available
                government programs and resources relating thereto. Such documents including
                documents relating to requests for proposal (“RFPs”) that the PRDOJ sought from
                third parties in connection with those campaigns, as well as contracts with the third
                parties that won those proposals and invoices related thereto.


     INTERROGATORY NO. 25: State whether You have possession, custody, and/or control

     over documents concerning the use of Display Advertising or Ad Tech Products by each of the

     following agencies, entities, divisions, and departments of Your state. If so, include in Your
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     answer the locations, custodians, and general descriptions of such documents. If not, identify

     all persons with possession, custody, and/or control of such documents:

                    Agencies, Entities, Divisions, & Departments Listed for Each State

    TX: North Texas Tollway Authority; The Texas Department of Information Resources (DIR);
        Texas Office of the Governor, Economic Development & Tourism; Texas A&M
        University; Texas Department of Transportation; The University of Texas.

    AR: Arkansas Department of Parks, Heritage and Tourism; Southern Arkansas University;
        University of Arkansas.

    FL:   Florida Department Of Corrections; Florida Department of Economic Opportunity;
          Florida Department Of Environmental Protection; Florida Department Of State; Florida
          Department Of Transportation; Florida Fish & Wildlife Conservation Commission;
          Florida Institute of Food & Agricultural Sciences; University Of Florida.

    ID:   College of Western Idaho; Idaho Transportation Department; University of Idaho.

    IN:   Indiana Municipal Power Agency; Indiana University.

    KY: Eastern Kentucky University; Kentucky Community & Technical College System;
        Kentucky Tourism, Arts, and Heritage Cabinet.

    LA:   Louisiana State University; Louisiana Office of Tourism.

    MS: Mississippi State University; Mississippi Development Authority.

    MO: Missouri Division of Tourism; University of Missouri.

    MT: Montana Office of Tourism; The University of Montana.

    NV: College of Southern Nevada; Nevada Department of Motor Vehicles; University of
        Nevada.

    ND: North Dakota Department of Health; University of North Dakota.

    PR:   Departamento de Educación de Puerto Rico; Puerto Rico Tourism Company;
          Universidad de Puerto Rico.


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    SC:     South Carolina Department of Parks, Recreation, and Tourism; University of South
            Carolina

    SD:     South Dakota Department of Human Services; South Dakota Department of Education;
            South Dakota State University; University of South Dakota.

    UT:     Southern Utah University and the Utah Office of Tourism.

          Response: The Plaintiff States object to these interrogatories to the extent they seek to
          compel a legal conclusion. Plaintiff States also object to the extent that these interrogatories
          are duplicative of Rule 45 subpoenas that have already been sent to the entities listed and
          thus requesting the same information from the Plaintiff States is unduly burdensome and
          disproportional to the needs of the case. Finally, the Plaintiff States object to this
          interrogatory as containing discrete sub-parts such that it should constitute multiple
          interrogatories in considering the interrogatory limit imposed by the Court in this case.
          ECF No. 194 at 6 (“This limit on the number of interrogatories includes discrete sub-parts
          ….”). Subject to and without waiving the foregoing objection, Plaintiff States respond that
          they do not have possession, custody, or control over any documents or personnel that
          belong to the institutions listed in these interrogatories for their respective state, and do not
          know who within those organizations would have possession, custody, or control of this
          information.

              •   The Office of the Attorney General of Kentucky remains willing to meet and confer
                  with Google to facilitate discovery with state agencies of the Commonwealth,
                  including those identified in this Interrogatory.


  INTERROGATORY NO. 26: For each category of monetary relief (including where applicable

  restitution, disgorgement, civil penalties, civil fines, or damages) that You seek in this Action,

  provide a computation of the amount of each category of monetary relief sought for each count.

          Response: The Plaintiff States objects to this interrogatory as premature given the status
          of the case and the fact that discovery is ongoing, including review of documents only
          recently or not yet produced by Google, and to the extent it seeks to compel Plaintiff States
          to marshal all of their evidence in advance of trial. The Plaintiff States further object to this
          interrogatory to the extent it requires review of documents and data that Google has failed
          to produce in a timely manner. The Plaintiff States also object on the basis that this request
          calls for the premature disclosure of expert opinions. Expert disclosures will be made
          within the time prescribed by the Court’s Scheduling Order. Subject to and without waiving
          the foregoing objection, Plaintiff States respond:



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                  Civil Penalties for consumer claims:1

                       Reserve Price Optimization (“RPO”): The use of RPO was a violation each auction
                       during which time RPO was deceptively or unfairly misrepresented or omitted
                       and/or each time it operated to cause an advertiser to pay more for an impression
                       than they otherwise would have in the absence of RPO. Based on the allegations
                       set forth in Paragraphs 527 – 538 of the Fourth Amended Complaint, the total
                       number of violations equals the total number of auctions during which time RPO
                       was deceptively or unfairly misrepresented or omitted and/or the total number of
                       impressions that RPO affected from when publishers were opted into RPO in 2015
                       until Google switched to a first price auction in 2019. During this period, advertisers
                       were deceived into bidding into what they believed was a second price auction
                       while RPO ensured they did not receive the benefits of a second price auction,
                       and/or paid more for impressions than they otherwise would have without RPO.
                       The total number of violations is expected to be approximately 20% to 100% of all
                       impressions transacted between the date RPO was launched and the date that
                       Google switched to a first price auction, subject to any additional data to be
                       discovered or produced.

                       Bernanke: As alleged in Paragraphs 297 - 317 and 549 – 562 of the Fourth
                       Amended Complaint, the use of Bernanke and its iterations was a violation each
                       auction during which time Bernanke was deceptively or unfairly misrepresented or
                       omitted and/or each time it was used to overcharge advertisers or underpay
                       publishers. The total number of violations against advertisers equals the number of
                       impressions that Bernanke lowered the second highest bid from Google Ads while
                       charging an advertiser based off the full amount of that bid. This caused advertisers
                       to pay into a pool for Google that was used to win more on Google’s platform. The
                       total violations against web publishers equals the number of impressions in which
                       Bernanke paid publishers based off a decreased bid amount after Bernanke dropped
                       or lowered the second highest bid from Google Ads. In sum, two violations
                       occurred for each transaction that Bernanke operated to drop or lower a bid from
                       Google Ads.

                       Dynamic Revenue Sharing (“DRS”): The use of DRS was a violation each auction
                       during which time DRS was deceptively or unfairly misrepresented or omitted
                       and/or each time it increased its take rate above 20% on any transaction for an ad
                       impression. As alleged in Paragraphs 318 – 330 and 539 – 548 of the Fourth
                       Amended Complaint, Google deceived publishers into opting into DRSv2 by
                       promising increased yield then surreptitiously implemented DRSv2. Publishers
                       were led to believe that DRS would only lower Google’s revenue share, but DRSv2
                       served to increase Google’s revenue share on certain impressions. A violation
                       occurred for each auction during which time DRS was deceptively or unfairly
                       misrepresented or omitted and/or each transaction in which DRS increased


  1
      All Plaintiff States seek civil penalties for violations of their state law consumer protection statutes.
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                    Google’s revenue share causing web publishers to receive less yield for their
                    inventory under DRSv2 than they would have received under DRSv1.

                    Header Bidding: As alleged in Paragraphs 563 – 571 of the Fourth Amended
                    Complaint, Google misrepresented to publishers that header bidding would be
                    harmful to them and result in increased latency. This led to publishers to forego
                    header bidding to their detriment. A violation occurred each time a publisher did
                    not use header bidding and received a reduced yield for their inventory as a result
                    of failing to implement header bidding based off Google’s misrepresentations.

                    Equal Footing: As alleged in Paragraphs 586 – 587 of the Fourth Amended
                    Complaint, Google falsely represented that all participants in the unified auction
                    compete equally for each impression. After this statement Google still changed the
                    outcome of auctions with the use of Bernanke and some bidders such as Facebook
                    held an advantage over other bidders. Each time an advertiser bid into AdX where
                    Facebook was also a bidder after the NBA with Google was executed, a violation
                    occurred. Further, each time a bidder submitted a bid into the unified auction where
                    Bernanke operated to either overcharge advertisers or underpay publishers, a
                    violation occurred.

                    Sale of Personal Data: As alleged in Paragraphs 572 – 585 of the Fourth Amended
                    Complaint, Google falsely represented that it does not sell users’ personal
                    information. Google leverages the personal information of millions of people for
                    profit in its online advertising business. With respect to each auction involving DFP
                    or AdX, each disclosure of user’s information within each auction is a separate
                    violation.

               Civil Penalties for antitrust claims:2

                    Tying: Google Ads maintains exclusive access to hundreds of thousands of small
                    advertisers seeking to purchase publisher inventory. Google leveraged that
                    exclusive demand to coerce publishers to adopt and license its ad server product.
                    Google denies publishers direct access to its AdX product and does not allow third-
                    party ad servers to access AdX. This conduct began in 2009 and continues today,
                    in violation of state and federal antitrust law.

                    Dynamic Allocation: Using its monopoly power in the market for ad servers,
                    Google blocked publishers from receiving a live bid from rival exchanges more
                    than one exchange at a time through Dynamic Allocation. Dynamic Allocation
                    reduced publishers yield and provided little to no procompetitive benefit to
                    publishers. This anticompetitive conduct occurred between 2010 and 2019, in
                    violation of state and federal antitrust law.

  2
   The Plaintiff States Alaska, Arkansas, Florida, Idaho, Kentucky, Louisiana, Mississippi, Montana, Nevada, North
  Dakota, Puerto Rico, South Carolina, South Dakota, Texas, and Utah seek civil penalties for violations of their state
  antitrust statutes. Subject to how the Court determines what constitutes a violation, Kentucky reserves the right to
  seek a per day penalty as set out in KRS 367.990(8).
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              Dynamic Revenue Sharing: Google altered its revenue share to ensure it could
              transact an impression after receiving and reviewing bids. This advantage harmed
              competition amongst exchanges, particularly competition on exchange fees.
              Google’s conduct related to DRS occurred between 2014 and 2019, in violation of
              state and federal antitrust laws.

              Bernanke: Using its market power in the markets for small ad buying tools and in
              ad exchanges, Google acted to change the outcome of auctions after they occurred.
              Google dropped the second-highest bid from the AdX auction when the two highest
              bids were above the floor and submitted from Google Ads advertisers. Project
              Bernanke overcharged advertisers because Google did not pass through the benefit
              derived from dropping the second-highest bid. Bernanke caused further harm to
              advertisers, because their (inflated) bids were routed to less relevant publisher
              inventory to help AdX beat out rival exchanges. Google’s variations on Project
              Bernanke hurt publishers also. By pooling funds away from publishers to
              manipulate and inflate the bids of advertisers using Google Ads, Bernanke caused
              publishers to be underpaid. Project Bernanke manipulated auctions, ensuring that
              Google Ads would beat out any rivals who might outbid Google and win the auction
              in AdX. This conduct began in 2013 and continues today, in violation of state and
              federal antitrust laws.

              Enhanced Dynamic Allocation: As alleged in paragraphs 282-296 of the
              Complaint, Google deployed a new decisioning logic called Enhanced Dynamic
              Allocation (“EDA”) into its DFP ad server that gave its AdX exchange exclusive
              access to premium publisher inventory. EDA excluded rival ad buying tools and ad
              exchanges from accessing and winning this valuable inventory. As alleged in
              paragraphs 366-374 of the Complaint, when Google did allow (beginning in 2016)
              its DFP product to allow non-Google exchanges to submit live, competitive bids
              for impressions (so-called “Exchange Bidding”), EDA excluded rival exchanges
              from accessing this premium inventory because Google charged publishers a 5%
              tax on any impression sold on non-Google exchange. This conduct began in 2014
              and is ongoing. The operation of EDA both before and after the advent of Exchange
              Bidding was and is a violation of state and federal antitrust laws.

              Header Bidding Line-Item Caps: As alleged in paragraphs 389-394, Google used
              its monopoly power in the ad server market to cap the number of “line items” a
              publisher can set to match a bid received from a header bidding exchange. This
              harmed competition in the exchange market and hampered publishers’ ability to
              adopt header bidding to increase yield. Google’s conduct in denying line item
              increases to publishers was a violation of state and federal antitrust laws.

              Header Bidding Data Redactions: As alleged in paragraphs 387-388, Google
              redacted key fields that previously allowed publishers the ability to evaluate the
              performance of header bidding exchanges. Google’s redaction of auction data
              impaired publisher participation in header bidding. Google’s conduct in redacting


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                 data that publishers were entitled to was and is a violation of state and federal
                 antitrust laws.

                 Poirot: Google used Poirot to funnel more spend towards AdX, suppress header
                 bidding, and deprive rival exchanges from access to publisher inventory. Google’s
                 intentional conduct in suppressing header bidding through the implementation of
                 Poirot was and is a violation of state and federal antitrust laws.

                 FAN Agreement: Google entered an unlawful agreement with Facebook in 2018
                 where Facebook agreed to substantially curtail its use of header bidding in return
                 for Google giving Facebook an advantage in display ad auctions. Google’s
                 intention conduct in entering into the Network Bidding Agreement to suppress the
                 adoption of header bidding was and is a violation of state and federal antitrust laws.

                 Unified Pricing Rules: Google exerts its market power in the ad serving market to
                 suppress competition in the ad exchange market via Unified Pricing Rules (“UPR”).
                 As alleged in paragraphs 451-469, Google knew that publishers set higher price
                 floors for AdX and Google’s ad buying tools to improve inventory yield, improve
                 ad quality, and increase competition. In response, Google forced publishers to set
                 equal floors across all exchanges, thereby depriving publishers of the opportunity
                 to favor demand from rival exchanges. This conduct began in 2019 and is ongoing,
                 in violation of state and federal antitrust laws. Google’s conduct of imposing
                 Unified Pricing Rules on web publishers was and is a violation of state and federal
                 antitrust laws.



  INTERROGATORY NO. 27: Identify all persons with relevant knowledge concerning Your

  claims in this Action.

         Response: The Plaintiff States objects to this interrogatory as overly broad, unduly
         burdensome, and disproportional to the needs of the case as it places an undue burden on
         the responding party as it is duplicative of information included as part of the Plaintiff
         States’ Rule 26 disclosures or otherwise not relevant to the facts or claims in this litigation.
         Further, the Plaintiff States objects to this interrogatory to the extent that it seeks
         information that is attorney-client or work product privileged. Further, the Plaintiff States
         object to the extent that they do not have possession, custody, or control over other state
         agencies’ documents or personnel. Subject to and without waiving the foregoing
         objections, Plaintiff States respond:

             •   See Appendix A of Plaintiff States forthcoming First Amended Initial Disclosures
                 which lists each third party contacted during the investigation by the Plaintiff
                 States.



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             •   See also, the privilege log produced by the Plaintiff State of Texas on February 2,
                 2024, that identifies non-privileged information about third-party interview
                 memoranda, prepared at the direction of attorneys in anticipation of litigation and
                 exchanged solely among the common-interest, investigating State Offices of
                 Attorney General.


  INTERROGATORY NO. 28: Identify all persons with relevant knowledge concerning the use

  of Display Advertising or Ad Tech Products by each of Your state’s agencies, entities, divisions,

  or departments, including the office of the Attorney General.

         Response: The Plaintiff States object to this interrogatory as overly broad, unduly
         burdensome, and disproportional to the needs of the case as it places an undue burden on
         the responding party that outweighs its expected benefits and the requesting party’s ability
         to obtain the information is similar or superior to that of the responding party. Further, the
         Plaintiff States object on the basis that they do not have possession, custody, or control
         over other state agencies’ documents or personnel. Subject to and without waiving the
         foregoing objections:

             •   Plaintiff State of Arkansas identifies the following persons with relevant knowledge
                 concerning the use of Display Advertising or Ad Tech Products:

                    o   Charles Saunders, Assistant Attorney General
                    o   Sid Rosenbaum, Chief Fiscal Officer
                    o   Ann Frazier, Deputy Chief Fiscal Officer
                    o   Bryant Stanfield, Logistics Director

             •   Plaintiff State of North Dakota identifies the following persons with relevant
                 knowledge concerning the use of Display Advertising or Ad Tech Products:

                    o Ryan Koppy, Sales and Marketing Manager – ND Lottery
                    o Lance Gaebe, Director – ND Lottery

             •   Plaintiff State of Indiana identifies the following persons with relevant knowledge
                 concerning the Indiana Office of Attorney General’s use of Display Advertising or
                 Ad Tech Products:

                    o Jamie Weber, Chief of Staff
                    o Amy T. Hendrix, Director of Unclaimed Property Division

             •   The Commonwealth of Kentucky states that Jim Hoyland with Red7e has
                 knowledge concerning the use of Display Advertising by the Office of the Attorney
                 General. Phone: (502) 585-3403 (Ext. 234). Fax: (502) 582-2043. Email:
                 jimh@red7e.com. The Kentucky Office of the Attorney General is unaware of who
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               within any other state agency, entity, division, or department of the Commonwealth
               has knowledge of those entities’ use, if any, of Display Advertising or Ad Tech
               Products, but the Office remains willing to meet and confer with Google to facilitate
               discovery with state agencies. Plaintiff Commonwealth of Kentucky further
               identifies the following persons with relevant knowledge concerning the Kentucky
               Office of the Attorney General’s use of Display Advertising or Ad Tech Products:
                   o Elizabeth Kuhn, formerly Communications Director (former employee)
                   o Krista Buckel, formerly Communications Director (former employee)
                   o Stacy Woodrum, Executive Director, Office of Administrative Services
                   o Michelle Lacy, Budget Specialist, Office of Administrative Services
                   o Shellie May, Special Assistant, Office of Consumer Protection (formerly
                       Communications Director)
                   o Atley Smedley, Deputy Communications Director
                   o Heather Wagers, Executive Director, Office of Trafficking and Abuse
                       Prevention and Prosecution
                   o Hanna Ray, Digital Account Director, Red7e, Phone: (502) 585- 3403 (Ext.
                       227). Email: hannahr@red7e.com
                   o Leah Halfacre, Account Director, Red7e, Phone: 502-585-3403 (Ext. 258).
                       Email: leahh@red7e.com.
                   o Dan Barbercheck, President, Red7e, Phone: 502-585-3403 (Ext. 256).
                       Email: danb@red7e.com.


           •   The Nevada AGO has not purchased display advertising or used ad tech products
               during the Relevant Period, and does not have possession, custody or control of
               documents or information for other state agencies. However, as stated in the
               Response to Interrogatory No. 1, public officers for Additional Nevada Agencies
               are willing to voluntarily produce relevant documents or information without the
               formal issuance by Google of a FRCP 45 subpoena. The Nevada AGO is willing to
               facilitate the voluntary production from these Additional Nevada Agencies within
               a reasonable period of time.

           •   Plaintiff State of Louisiana identifies the following persons with relevant
               knowledge concerning the Louisiana Attorney General’s use of Display
               Advertising or Ad Tech Products: Christine Rozas, Section Chief, Fair Housing
               Section; Suzanne Bourgeois, Program Manager for Problem Gambling Resource
               Services.

           •   The Plaintiff State of Alaska is providing Defendants with a table containing the
               requested information separately from, and concurrently with, these Fourth
               Amended responses.

           •   Plaintiff the Commonwealth of Puerto Rico identifies the following persons with
               relevant knowledge concerning the PRDOJ’s use of Display Advertising or Ad
               Tech Products: 1) Sheila Miranda Rivera (Director at Oficina de Compensacion y
               Servicios a las Victimas y Testigos de Delitos), 2) Beliant Aguilazocho Sanchez
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                 (Executive Assistant at Oficina de Compensacion y Servicios a las Victimas y
                 Testigos de Delitos), 3) Frank Totti Vizcarrondo (Acting Chief Information Officer,
                 Sistema de Información de Justicia Criminal), and 4) Leida Suri Rodriguez (Senior
                 Attorney, Sistema de Información de Justicia Criminal).

             •   The Offices of the Attorneys General for the Plaintiff States of Texas, Idaho,
                 Florida, Mississippi, Missouri, Montana, South Carolina, and South Dakota have
                 not purchased display advertising or used ad tech products during the Relevant
                 Period.


  INTERROGATORY NO. 29: With respect to each harm or injury for which You seek relief in

  this Action in Your sovereign capacity, identify each person with knowledge of that harm or injury.

         Response: The Plaintiff States object to this interrogatory as overly broad, unduly
         burdensome, and disproportional to the needs of the case as it places an undue burden on
         the responding party that outweighs its expected benefits, the requesting party’s ability to
         obtain the information is similar or superior to that of the responding party, and it is
         duplicative of information included as part of the State Plaintiffs’ Rule 26 disclosures. The
         Plaintiff States objects to this interrogatory as premature given the status of the case and
         the fact that discovery is ongoing, including review of documents not timely collected and
         only recently or not yet produced by Google. The Plaintiff States also object on the basis
         that this request calls for the premature disclosure of expert opinions. Expert disclosures
         will be made within the time prescribed by the Court’s Scheduling Order. Subject to and
         without waiving the foregoing objections, The Plaintiff States respond:

             •   All Plaintiff States have sovereign standing to pursue civil penalties.

             •   No Plaintiff State is seeking to recover on behalf of state agencies or state related
                 entities for damages, disgorgement, or restitution.


  INTERROGATORY NO. 30: With respect to each harm or injury for which You seek relief in

  this Action as parens patriae, identify each person with knowledge of that harm or injury.

         Response: The Plaintiff States object to this interrogatory as overly broad, unduly
         burdensome, and disproportional to the needs of the case as it places an undue burden on
         the responding party that outweighs its expected benefits, the requesting party’s ability to
         obtain the information is similar or superior to that of the responding party, and it is
         duplicative of information included as part of the State Plaintiffs’ Rule 26 disclosures.
         Plaintiff States also object to this Request to the extent that it implies that the identification
         of specific persons is a necessary element of a parens patriae claim. Further, the Plaintiff
         States object to this interrogatory as premature given the status of the case and the fact that
         discovery is ongoing, including review of documents not timely collected and only recently
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         or not yet produced by Google and to the extent it seeks to compel Plaintiff States to
         marshal all of their evidence in advance of trial or to the extent that it seeks to compel a
         legal conclusion. The Plaintiff States also object on the basis that this request calls for the
         premature disclosure of expert opinions. Expert disclosures will be made within the time
         prescribed by the Court’s Scheduling Order. Subject to and without waving the foregoing
         objections, Plaintiff States respond:

            •   The Plaintiff States are seeking civil penalties and injunctive relief in their parens
                patriae capacity.

            •   Web publishers and advertisers located in each of the Plaintiff States suffered harm
                as a result of Google’s anticompetitive and deceptive conduct. Harm to those
                businesses significantly harmed the digital advertising industry and web publishing
                industries in each of the Plaintiff States.

                    o Harm to web publishers in each of the Plaintiff States as a result of Google’s
                      anticompetitive and deceptive conduct also harmed internet users in each of
                      the Plaintiff States in the form of imposed paywalls, increased paywalls, ad
                      saturation, and lower quality content on the internet.

                    o Harm to digital advertisers in each of the Plaintiff States as a result of
                      Google’s anticompetitive and deceptive conduct also harmed consumers of
                      goods and services that paid higher prices as the result of inefficient ad
                      spend in each of the Plaintiff States.


  INTERROGATORY NO. 31: With respect to each harm or injury to the general welfare and the

  economy of Your state for which You seek relief in this Action, identify each person with

  knowledge of that harm or injury.

         Response: The Plaintiff States object to this interrogatory as overly broad, unduly
         burdensome, and disproportional to the needs of the case as it places an undue burden on
         the responding party that outweighs its expected benefits, the requesting party’s ability to
         obtain the information is similar or superior to that of the responding party, and it is
         duplicative of information included as part of the State Plaintiffs’ Rule 26 disclosures.
         Further, the Plaintiff States object to this interrogatory as premature given the status of the
         case and the fact that discovery is ongoing, including review of documents not timely
         collected and only recently or not yet produced by Google and to the extent it seeks to
         compel Plaintiff States to marshal all of their evidence in advance of trial or to the extent
         that it seeks to compel a legal conclusion. The Plaintiff States also object on the basis that
         this request calls for the premature disclosure of expert opinions. Expert disclosures will
         be made within the time prescribed by the Court’s Scheduling Order. Subject to and
         without waving the foregoing objections, Plaintiff States respond:

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           •   The Plaintiff States are seeking relief for harm to the general welfare of their
               respective economies as described in response to Interrogatory 5.

           •   Web publishers and advertisers located in each of the Plaintiff States suffered harm
               as a result of Google’s anticompetitive and deceptive conduct. Harm to those
               businesses significantly harmed the digital advertising industry and web publishing
               industries in each of the Plaintiff States.

                  o Harm to web publishers in each of the Plaintiff States as a result of Google’s
                    anticompetitive and deceptive conduct also harmed internet users in each of
                    the Plaintiff States in the form of imposed paywalls, increased paywalls, ad
                    saturation, and lower quality content on the internet.

                  o Harm to digital advertisers in each of the Plaintiff States as a result of
                    Google’s anticompetitive and deceptive conduct also harmed consumers of
                    goods and services that paid higher prices as the result of inefficient ad
                    spend in each of the Plaintiff States.




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  Dated: May 3, 2024

                                                              Respectfully submitted,



   /s/ Ashley Keller                                        /s/ Mark Lanier
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                                                       77
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 FOR PLAINTIFF STATE OF TEXAS:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Texas.

 KEN PAXTON
 Attorney General of Texas

 BRENT WEBSTER
 First Assistant Attorney General

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                                                   78
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 FOR PLAINTIFF STATE OF ALASKA


 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Alaska.


 TREG TAYLOR
 ATTORNEY GENERAL



 By: /s/ Jeff Pickett
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 Attorney for the plaintiff state of Alaska
Case 4:20-cv-00957-SDJ Document 550-2 Filed 07/11/24 Page 81 of 95 PageID #: 18355



 FOR PLAINTIFF STATE OF ARKANSAS:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Arkansas.

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 FOR PLAINTIFF STATE OF FLORIDA:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Florida.

 ASHLEY MOODY, Attorney General

 /s/ Lee Istrail
 Lee Istrail, Assistant Attorney General, Antitrust Division
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Case 4:20-cv-00957-SDJ Document 550-2 Filed 07/11/24 Page 83 of 95 PageID #: 18357



 FOR PLAINTIFF STATE OF IDAHO:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Idaho.

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 /s/ John K. Olson
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Case 4:20-cv-00957-SDJ Document 550-2 Filed 07/11/24 Page 84 of 95 PageID #: 18358



 FOR PLAINTIFF STATE OF INDIANA:

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 Attorney General

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Indiana.




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Case 4:20-cv-00957-SDJ Document 550-2 Filed 07/11/24 Page 85 of 95 PageID #: 18359



       FOR PLAINTIFF COMMONWEALTH OF KENTUCKY:

       I verify under penalty of perjury that the foregoing is true and correct to the best of my
       knowledge as it applies to the State of Kentucky.

       RUSSELL COLEMAN
       Attorney General

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       Attorneys for Commonwealth of Kentucky
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 FOR PLAINTIFF STATE OF LOUISIANA:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Louisiana.

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Case 4:20-cv-00957-SDJ Document 550-2 Filed 07/11/24 Page 87 of 95 PageID #: 18361



 FOR PLAINTIFF STATE OF MISSISSIPPI:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Mississippi.

 LYNN FITCH, ATTORNEY GENERAL
 STATE OF MISSISSIPPI

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Case 4:20-cv-00957-SDJ Document 550-2 Filed 07/11/24 Page 88 of 95 PageID #: 18362



 FOR PLAINTIFF STATE OF MISSOURI:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Missouri.

 ANDREW BAILEY
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 Attorneys for Plaintiff State of Missouri
Case 4:20-cv-00957-SDJ Document 550-2 Filed 07/11/24 Page 89 of 95 PageID #: 18363



       FOR PLAINTIFF STATE OF MONTANA:

       I verify under penalty of perjury that the foregoing is true and correct to the best of my
       knowledge as it applies to the State of Montana.

       AUSTIN KNUDSEN
       Montana Attorney General


       /s/ Anna Schneider
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 FOR PLAINTIFF STATE OF NEVADA:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
 it applies to the State of Nevada.

 AARON D. FORD
 Attorney General
 ERNEST D. FIGUEROA
 Consumer Advocate


 /s/ Michelle C. Badorine
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Case 4:20-cv-00957-SDJ Document 550-2 Filed 07/11/24 Page 91 of 95 PageID #: 18365



 FOR PLAINTIFF STATE OF NORTH DAKOTA:

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 it applies to the State of North Dakota.

        STATE OF NORTH DAKOTA
        Drew H. Wrigley
        Attorney General


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Case 4:20-cv-00957-SDJ Document 550-2 Filed 07/11/24 Page 92 of 95 PageID #: 18366



 FOR PLAINTIFF COMMONWEALTH OF PUERTO RICO:

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 FOR PLAINTIFF STATE OF SOUTH CAROLINA:

 I verify under penalty of perjury that the foregoing is true and correct to the best of my knowledge as
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 ALAN WILSON
 Attorney General


 /s/ Mary Frances Jowers
 Mary Frances Jowers
 Assistant Deputy Attorney General
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 FOR PLAINTIFF STATE OF SOUTH DAKOTA:

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 Attorney for Plaintiff State of South Dakota
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 FOR PLAINTIFF STATE OF UTAH:

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 it applies to the State of Utah.

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